Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18   PageID.5424   Page 1 of 49




                 EXHIBIT 1
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                     PageID.5425           Page 2 of 49




                JAMES v. HILLIARD HAMPTON, ET AL.

                      DEBORAH LYNN EVANS GREEN




                                        August 11, 2017



                                         Prepared for you by




                                Bingham Farms/Southfield • Grand Rapids
                 Ann Arbor • Detroit • Flint • Jackson • Lansing • Mt. Clemens • Saginaw • Troy
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                   PageID.5426             Page 3 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                            Page 1                                                     Page 3
                          UNITED STATES DISTRICT COURT                    1   BRETT A. ASHER
                          EASTERN DISTRICT OF MICHIGAN                    2   The Mike Cox Law Firm, PLLC
                              SOUTHERN DIVISION                           3   17430 Laurel Park Drive North
                                                                          4   Suite 120E
             SYLVIA JAMES,                                                5   Livonia, Michigan 48152
                          Plaintiff,                                      6   734.591.4002
                 vs.                   Case No. 2:12-cv-10273             7   basher@mikecoxlaw.com
                                  Hon. Paul D. Borman                     8       Appearing on behalf of the Defendant, Anderson.
                                  Magistrate Judge R. Steven Whalen       9
             HILLIARD HAMPTON, et al.,                                   10   ADAM T. RATLIFF
                          Defendants.                                    11   Warner, Norcross & Judd, LLP
             __________________________________                          12   111 Lyon Street NW
                                                                         13   Grand Rapids, Michigan 49503-2487
             The Deposition of DEBORAH LYNN EVANS GREEN,                 14   616.752.2539
             Taken 3030 W. Grand Boulevard, 10th Floor,                  15   aratliff@wnj.com
             Detroit, Michigan,                                          16       Appearing on behalf of the Defendant, Fischer.
             Commencing at 9:25 a.m.,                                    17
             Friday, August 11, 2017,                                    18
             Before Sharon Campbell, CSR-3406.                           19
                                                                         20
                                                                         21
                                                                         22
                                                                         23
                                                                         24
                                                                         25


                                                            Page 2                                                     Page 4
         1   APPEARANCES:                                                 1                   TABLE OF CONTENTS
         2                                                                2
         3   JASON R. HIRSCH                                              3     WITNESS                  PAGE
         4   Morganroth & Morganroth, PLLC                                4     DEBORAH LYNN EVANS GREEN
         5   344 North Old Woodward Avenue                                5
         6   Suite 200                                                    6     EXAMINATION
         7   Birmingham, Michigan 48009                                   7     BY MR. HIRSCH:                             5
         8   248.864.4000                                                 8
         9   jhirsch@morganrothlaw.com                                    9                     EXHIBITS
        10      Appearing on behalf of the Plaintiff.                    10
        11                                                               11     Exhibit                         Page
        12   JEANMARIE MILLER                                            12     (Exhibits attached to transcript.)
        13   Michigan Attorney General                                   13
        14   PO Box 30736                                                14     DEPOSITION      EXHIBIT    1                   16
        15   Lansing, Michigan 48909                                     15     DEPOSITION      EXHIBIT    2                   56
        16   517.373.6434                                                16     DEPOSITION      EXHIBIT    3                   58
        17   millerj51@michigan.gov                                      17     DEPOSITION      EXHIBIT    4                   63
        18      Appearing on behalf of the Defendant, JTC, Washington,   18     DEPOSITION      EXHIBIT    5                   79
        19      and Green.                                               19
        20                                                               20
        21                                                               21
        22                                                               22
        23                                                               23
        24                                                               24
        25                                                               25




                                                                                                           Pages 1 to 4
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                          PageID.5427                Page 4 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                 Page 5                                                           Page 7
         1   Detroit, Michigan                                             1   Q. That would be a BA in history?
         2   Friday, August 11, 2017                                       2   A. Correct.
         3   9:25 a.m.                                                     3   Q. And you attended law school, correct?
         4                                                                 4   A. Correct.
         5               DEBORAH LYNN EVANS GREEN,                         5   Q. And that was at Wayne State University, correct?
         6      was thereupon called as a witness herein, and after        6   A. Correct.
         7      having first been duly sworn to testify to the truth,      7   Q. And when did you get your law degree?
         8      the whole truth and nothing but the truth, was             8   A. 1984.
         9      examined and testified as follows:                         9   Q. That would be a JD, correct?
        10               MR. HIRSCH: Good morning. My name is             10   A. Correct.
        11      Jason Hirsch. I'm one of the attorneys for the            11   Q. And are you a member of the State Bar of Michigan?
        12      plaintiff in this matter. Let the record show that        12   A. Yes.
        13      this is the deposition of Deborah Green taken pursuant    13   Q. Are you a member of the state bars of any other
        14      to notice under the Federal Rules of Civil Procedure.     14       states?
        15                       EXAMINATION                              15   A. No.
        16   BY MR. HIRSCH:                                               16   Q. Are you admitted to any Federal courts?
        17   Q. Ms. Green, I will be asking you a series of questions.    17   A. No. I think I used to be, but I'm not now.
        18      You were just sworn in. You understand your answers       18   Q. Where did you used to be admitted?
        19      are under oath?                                           19   A. A long, long, long time ago I started out at Miller
        20   A. Yes.                                                      20       Canfield, and I believe I was admitted to the 6th
        21   Q. And please answer verbally so that we can make sure       21       Circuit in Cincinnati just as an associate on some
        22      your answer gets recorded, okay?                          22       long ago case. That's my memory talking.
        23   A. Yes.                                                      23   Q. Have you ever been subject to any professional
        24   Q. And if at any time you don't understand a question,       24       discipline?
        25      please say so and I will try to clarify, okay?            25   A. No.


                                                                 Page 6                                                           Page 8
         1   A. Yes.                                                       1   Q. Are you a member of any professional associations,
         2   Q. And please make sure to let me finish my entire            2      like the ABA, for example?
         3      question before you answer, both to make sure that you     3   A. No. I don't know if this is part of your question,
         4      understand my question and because the court reporter      4      but when I retired a year ago, I got certified as a
         5      can't record two of us talking at once, okay?              5      court reporter, so I actually do transcripts on my
         6   A. Yes.                                                       6      own. So --
         7   Q. And if at any time I interrupt you or you haven't          7   Q. I'm sorry, go ahead.
         8      completed your answer, please let me know, and I will      8   A. So I don't know if that's the kind of professional
         9      permit you to finish your answer for the record, okay?     9      organization, but I am now a certified court reporter.
        10   A. Okay.                                                     10   Q. So that's a certification from the State of Michigan,
        11   Q. And if at any time you need a break, preferably not       11      correct?
        12      mid question, but other than that, just let me know,      12   A. Correct.
        13      and we can take a break, okay?                            13   Q. But you're not a member of the American Bar
        14   A. Okay.                                                     14      Association, for example?
        15   Q. Can I have your full name for the record, please?         15   A. No. I used to be, but I'm not now.
        16   A. Deborah Lynn Evans Green.                                 16   Q. You are still a member of the State Bar of Michigan,
        17   Q. Can I have your date of birth, ma'am?                     17      correct?
        18   A. October 17, 1957.                                         18   A. Oh, yes.
        19   Q. You attended undergraduate at Penn State University;      19   Q. So you maintain that?
        20      is that correct?                                          20   A. Correct.
        21   A. Correct.                                                  21   Q. Could you -- well, strike that.
        22   Q. What time period?                                         22              You mentioned that you are now retired,
        23   A. Oh, goodness. I graduated in 1978.                        23      correct?
        24   Q. And what was your degree?                                 24   A. Correct.
        25   A. History.                                                  25   Q. Although you are doing some court reporting, correct?




                                                                                                                    Pages 5 to 8
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                            PageID.5428                  Page 5 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                    Page 9                                                           Page 11
        1   A. Correct.                                                       1   A. Yes.
        2   Q. When did you retire?                                           2   Q. Do you remember the timeframe of that?
        3   A. June 1 of last year, 2016.                                     3   A. Well, let's see. He was born in '86, and my second --
        4   Q. And you retired from the State Court Administrator's           4      my daughter was born in '89, so it would have been
        5      Office, correct?                                               5      '87, '88, and it was a very, very part-time job.
        6   A. Correct.                                                       6   Q. And those were undergraduate courses --
        7   Q. Was there a reason or it was just time to retire?              7   A. Yes.
        8   A. My husband has Parkinson's disease. I needed to stay           8   Q. -- or e-course, correct?
        9      home more, which is why it's nice to do the                    9   A. Right, Intro to Law.
       10      transcripts from home.                                        10   Q. And then you mentioned you couldn't recall the name,
       11   Q. Could you give me your employment history from the            11      but you said a small firm located in Trenton, correct?
       12      time you graduated law school forward?                        12      Do you recall the time period of that?
       13   A. Okay. I started out at Miller, Canfield, Paddock and          13   A. Burley, Barton, Misco and Falzone. That would have
       14      Stone. I was there approximately two to three years.          14      been in 1990.
       15      I left there when my first child was born, stayed home        15   Q. And do you recall the sort of work you did for Burley,
       16      for a bit, taught law, taught prelaw at Henry Ford            16      Barton?
       17      College. I then went back to work. I'm sorry I                17   A. I was for lack of a better word a general
       18      forgot -- the small firm downriver who doesn't exist          18      practitioner. I represented a lot of small businesses
       19      anymore. I will remember the name. They were in               19      in the downriver area.
       20      Trenton. I was only with them for a year, and then I          20   Q. I think after that you mentioned, and I hope I got the
       21      joined Pagnucco, Kruze, Tamsen and Labadie, and was           21      name right, I think you said Pagnucco, Kruze?
       22      the city attorney for the City of Allen Park for about        22   A. Pagnucco, P-A-G-N-U-C-C-O.
       23      six years. Then I left there. So I did their                  23   Q. And what period of time were you at Pagnucco, Kruze?
       24      criminal prosecution. And then I became the court             24   A. That would have been '91 to '96-ish.
       25      administrator at the 24th District Court in Allen             25   Q. And you were an associate there?



                                                                Page 10                                                              Page 12
        1      Park. I was there for about two years, became a court          1   A. Correct.
        2      administrator at the 33rd District Court in Woodhaven,         2   Q. And I think one aspect that you mentioned of your work
        3      was there for about five or six years, and then joined         3      there was a city attorney for Allen Park, correct?
        4      the State Court Administrative Office.                         4   A. Correct.
        5   Q. If we could just go through this just so I can get             5   Q. Was that really what you specialized in or any other
        6      some timeframes. You started at Miller Canfield --             6      area you worked in?
        7   A. Correct.                                                       7   A. I still maintained my private clients. I still
        8   Q. -- after you obtained your law degree, so that would           8      represented a lot of small businesses in the city area
        9      beginning around 1984?                                         9      along with being city attorney.
       10   A. I actually clerked with them while I was still in law         10   Q. I think next you said you became the court
       11      school for a year and a half maybe from my second             11      administrator for the 24th District Court, correct?
       12      summer on and then got officially hired by them when I        12   A. Correct.
       13      graduated, yes.                                               13   Q. And you said that was for about two years. Do you
       14   Q. So two to three years as an associate from 1984 to --         14      recall the year, years for that?
       15   A. Ish.                                                          15   A. It must have been '96 to '97 and maybe into '98.
       16   Q. -- for two to three years?                                    16   Q. And then following that position you served as court
       17   A. To '86 is when my son was born, so yes.                       17      administrator for the 33rd District Court, correct?
       18   Q. And what sort of work did you do as an associate at           18   A. Correct.
       19      Miller, Canfield?                                             19   Q. And you said that was for the five to six years, I
       20   A. I was in the business division. I started out in the          20      assume that was immediately following?
       21      now defunct field of antitrust law, not a good choice,        21   A. Correct. And I think I'm actually right on my years,
       22      and then primarily worked on banking cases.                   22      because I started this job in June of 2003, so that's
       23   Q. And then you mentioned you spent some time away from          23      actually five years from '98.
       24      employment after your son was born, and then you went         24   Q. And so June of 2003 is when you started at the State
       25      back and taught prelaw at Henry Ford, correct?                25      Court Administrator's Office, correct?




                                                                                                                        Pages 9 to 12
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                                PageID.5429                 Page 6 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                      Page 13                                                          Page 15
        1   A. Correct.                                                          1   Q. So at that time in 2013, though, you stayed with
        2   Q. In terms of your job as a court administrator, and                2      Region 1 --
        3      certainly if there was differences between the 24th               3   A. Correct.
        4      District Court and the 33rd District Court, you can               4   Q. -- you stayed with the originator?
        5      tell me, if not I will try to ask you just generally              5               The makeup of Region 1 changed?
        6      what were your duties as a court administrator in                 6   A. Correct.
        7      those district courts?                                            7   Q. Are you aware that there was subsequently a change
        8   A. Okay. Generally I was -- I managed the business                   8      where Wayne County was separated into its own region?
        9      operations of the court, the human resources, the                 9   A. Yes.
       10      budget, the benefits. Every court administrator is               10   Q. Did that happen while you were there or was that
       11      basically acting under the authority of the chief                11      later?
       12      judge, so it's chief judge really has the                        12   A. It happened upon my leaving, because I wouldn't do it
       13      administrative authority per court rule over every               13      while I was still there.
       14      court, but then they also have the ability to                    14   Q. I'm not sure I understand exactly --
       15      delegate. So I will say that between the 24th and the            15   A. I didn't want to be a one county region.
       16      33rd, the exact ways that I achieved those things was            16   Q. Okay.
       17      different, but the responsibilities were still the               17   A. And so they had wanted to change the makeup of the
       18      same for the business operations of the court, the               18      regions for quite some time, and I really was not
       19      case flow management, budget management, HR functions,           19      interested in only working -- covering Wayne County,
       20      facilities management.                                           20      so it was -- it's not a coincidence that the regions
       21   Q. Now, in June of 2003 you started at the State Court              21      changed in June 2016 when I left.
       22      Administrator's Office, correct?                                 22   Q. Okay. So those two events, that was your decision,
       23   A. Correct.                                                         23      they were going to change the region, and --
       24   Q. And you were a regional administrator; is that                   24   A. When I left.
       25      correct?                                                         25   Q. When you left?



                                                                      Page 14                                                          Page 16
        1   A. Correct.                                                          1   A. That was the deal.
        2   Q. And which region did you administer? They are                     2   Q. Okay. And do you know why there was this change to
        3      numbered, correct?                                                3      make Region 1 Wayne County only?
        4   A. Region 1. At that time there were four regions in the             4   A. My answer is because it took three people to do what I
        5      state, and I was Region 1.                                        5      had done for 13 years, but they really felt that Wayne
        6   Q. And what did Region 1 include at the time you started?            6      County needed more direct attention. The third
        7   A. The seven counties of southeast Michigan, Wayne,                  7      circuit, 36th District Court, they felt that given the
        8      Oakland, Macomb, Genesee, Washtenaw, Monroe. What am              8      issues in Genesee, for instance, in Flint, and some of
        9      I missing?                                                        9      the other courts that were part of my original region,
       10   Q. Livingston?                                                      10      they just felt that Wayne County needed its own
       11   A. Not Livingston, thank goodness.                                  11      separate attention.
       12                MS. MILLER: Lapeer?                                    12   Q. And Wayne County is the biggest county, correct?
       13   A. Not Lapeer. Oh, Saint Clair, Port Huron.                         13   A. Yes, in number of judges, yes.
       14   BY MR. HIRSCH:                                                      14   Q. Okay. Fair enough. When you said they felt, who was
       15   Q. Okay. Now, was that your region the entire time you              15      the they --
       16      were employed by the State Court Administrator's                 16   A. The supreme court.
       17      Office?                                                          17   Q. -- in your sentence?
       18   A. No. In 2013 we took over superintendent control of               18   A. I'm sorry. I'm interrupted you.
       19      the 36th District Court in downtown Detroit, and at              19   Q. You are familiar with Judge Sylvia James, correct?
       20      that time the supreme court felt that Region 1 was               20   A. Yes.
       21      sort of overloaded, and so at that time Region 1                 21               MR. HIRSCH: Can you mark this, please?
       22      became just the three counties of Wayne, Oakland, and            22               MARKED FOR IDENTIFICATION:
       23      Macomb, and the other four counties were sort of                 23               DEPOSITION EXHIBIT 1
       24      divvied up into a fifth region, and so from that point           24               9:41 a.m.
       25      on there were five regions in the state.                         25   BY MR. HIRSCH:




                                                                                                                     Pages 13 to 16
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                           PageID.5430                   Page 7 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                             Page 17                                                               Page 19
        1    Q. Ms. Green, our court reporter has just handed you what    1   Q. Okay. Do you recall whether that was before or after
        2       we have marked as Deposition Exhibit 1. Do you have       2      June 14, 2011?
        3       that in front of you?                                     3   A. It was before, I believe, in April, I think, but I
        4    A. Yes.                                                      4      don't really remember the date.
        5    Q. Do you recognize that document?                           5   Q. Okay. Did you have any involvement in the decision to
        6    A. Yes.                                                      6      place Judge James on administrative leave?
        7    Q. That is a grievance that you filed against Judge          7   A. Well, involvement in the decision, no. The decision
        8       James; is that correct?                                   8      came from the Supreme Court, but I had raised some of
        9    A. Correct.                                                  9      my concerns to them, which caused them to choose the
       10    Q. Now, the front page is dated June 14, 2011. Do you       10      action of putting her on administrative leave.
       11       see that?                                                11   Q. When you say you had raised concerns to the Supreme
       12    A. Yes.                                                     12      Court, did you do that in writing?
       13    Q. And do you see the subsequent pages, there is a header   13   A. I don't remember. I know I went in front of them.
       14       that is actually dated June 10th. Do you see that?       14      They have an administrative hearing day. I went in
       15    A. Yes.                                                     15      front of them and presented that to them in person en
       16    Q. Do you know why there is any difference of dates?        16      banc.
       17    A. The only thing that I can think of is that Microsoft     17   Q. Do you know if that's on the record?
       18       Word will like date stuff the date you open it, so my    18   A. It is not on the record. I must have put something in
       19       guess is I drafted this on the 10th and then somehow     19      writing prior to that because I don't think you get on
       20       reopened it on the 14th, and so it redated the first     20      their agenda without giving them something in writing.
       21       page. I shouldn't have -- I don't know.                  21   Q. So in terms of actual discussion you had with the
       22    Q. Okay. You would agree with me that you submitted this    22      justices, was that the only discussion at this en banc
       23       to Paul Fischer at the Judicial Tenure Commission        23      hearing as part of the administrative docket?
       24       around June 14th?                                        24   A. Yes.
       25    A. Yes.                                                     25   Q. No other discussions with the chief justice?



                                                             Page 18                                                               Page 20
         1   Q. What prompted you to file this request for                1   A. Not prior to the hearing, no, afterwards, yes, but not
         2       investigation?                                           2      prior.
         3   A. Well, I think it stated in the letter. We had been        3   Q. And no other discussions with any of the associate
         4       looking into a series of issues with the court, and      4      justices prior to the hearing?
         5       they had risen to the level that I felt needed the       5   A. No.
         6       tenure commission's attention.                           6   Q. Now, you said you did have some discussions with the
         7   Q. So to the best of your knowledge, this letter was true    7      chief justice about Judge James after the hearing on
         8       and accurate certainly as of the date it was             8      the administrative docket, correct?
         9       written --                                               9   A. Yes.
        10   A. Yes.                                                     10   Q. Did you also have any discussions with any of the
        11   Q. -- in terms of the facts you had at that time,           11      other justices after the hearing on the administrative
        12       correct?                                                12      docket?
        13   A. Yes.                                                     13   A. I don't believe so, no, that's -- I don't normally
        14   Q. You knew Judge James prior to this time, correct?        14      speak with the associate justices.
        15   A. Ever since I took my job, yes.                           15   Q. Do you recall when you had this discussion -- well,
        16   Q. And you had met her in person prior to June of 2011,     16      strike that.
        17       correct?                                                17                 Was it one discussion with the chief
        18   A. Oh, yes.                                                 18      justice?
        19   Q. Okay. You knew Judge James was African American,         19   A. There was one that I remember, yes, one.
        20       correct?                                                20   Q. Okay. What was the nature of that discussion with the
        21   A. Yes.                                                     21      chief justice?
        22   Q. Now, do you recall there was a time when Judge James     22   A. It was still that day, but it was after the hearing
        23       had been placed on administrator leave by the Supreme   23      and it was basically how to implement their decision.
        24       Court?                                                  24   Q. Did the court make a decision then during that hearing
        25   A. Yes.                                                     25      on the administrative docket?




                                                                                                                Pages 17 to 20
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                            PageID.5431                  Page 8 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                 Page 21                                                           Page 23
        1   A. Yes.                                                         1   A. That was one of the options. I had also suggested
        2   Q. And what was the decision they made during the               2      or -- suggested is pretty important -- but that
        3      administrative docket?                                       3      possibly we bring in an outside chief judge, let her
        4   A. To put her on administrative leave and for me to             4      still handle the cases, but just bring in an outside
        5      appoint an outside chief judge to come in and operate        5      chief judge to handle the management of the court, the
        6      the court.                                                   6      financial side. So I didn't recommend any one course
        7   Q. And that decision is memorialized in an order,               7      of action to them. I said here is the thing, and we
        8      correct --                                                   8      need -- I was most concerned about the financial
        9   A. Yes.                                                         9      situation of the court, and so that's when they made
       10   Q. -- an administrative order?                                 10      the decision, because of the concerns about tampering
       11   A. Yes.                                                        11      and all that, to put her on administrative leave so
       12   Q. Was there a vote then for that decision?                    12      that we could move forward.
       13   A. I believe they did vote, yes.                               13   Q. Was there a decision made at the time she was, Judge
       14   Q. Do you recall if anyone voted against that?                 14      James was placed on administrative leave, to go
       15   A. It was unanimous.                                           15      forward to pursue a grievance?
       16   Q. Now, do you recall when this hearing on the                 16   A. Not at that moment in time, no.
       17      administrative docket took place?                           17   Q. Did the Supreme Court direct you to take any steps
       18   A. Whatever day -- I think it was in April -- that she         18      then?
       19      was put on administrative leave, it was that day.           19   A. As regional administrator I have the authority to
       20   Q. Okay. So the order came down that same day, and she         20      appoint outside judges to sit in any court in the
       21      was put on administrative leave as soon as the order        21      land, so their direction to me was to bring in an
       22      gets entered, correct?                                      22      outside judge to operate the court in Judge James'
       23   A. Correct. The order might have actually come out the         23      absence while we basically got our hands on everything
       24      next day, but I believe the action was taken that day.      24      that like the auditor had found and some of these
       25      I really -- but, yeah, right contemporaneous, the           25      other things that we believed were going on, and so it



                                                                 Page 22                                                           Page 24
        1      whole thing.                                                 1      was -- I can't say that -- it was certainly in my
        2   Q. Very close in time?                                          2      mind, and I think in a lot of people's minds, that
        3   A. Yes, yes.                                                    3      this would lead to a tenure complaint, but it wasn't
        4   Q. Do you know why it is then that the grievance was not        4      on April, whatever date we were there, that wasn't my
        5      filed until around June 14th, 2011, when Judge James         5      main focus.
        6      had been placed on administrative leave in April 2011?       6   Q. So just so I'm clear, it sounds like, and you will
        7   A. Part of why she was placed on administrative leave was       7      correct me on this, but it sounds like there were two
        8      the concern that if she was still there, she would           8      things you were directed to do. One is since the
        9      tamper with evidence. We didn't think that at that           9      Supreme Court had made the decision to place her on
       10      time in April -- we knew plenty, as you can tell from       10      administrative leave, in your role as administrator I
       11      my letter, but we didn't think we knew everything, and      11      presume you would have had to appoint some other
       12      so that was the reason. I wanted to basically gather        12      judge, right, I mean somebody has to get in there?
       13      any other evidence, see if this thing mushroomed even       13   A. Correct.
       14      more than it already had, and then so by June I felt I      14   Q. And the second thing was to continue to investigate
       15      had enough evidence and enough tangible things to           15      the concerns that had led to the administrative leave;
       16      report and report it to the JTC.                            16      is that fair?
       17   Q. When you say there was a concern that she would tamper      17   A. No, they didn't order me to continue to investigate.
       18      with evidence, was that a concern you expressed?            18      You know, Val Washington, we brought him in. I
       19   A. Yes.                                                        19      actually was very infrequently feet on the ground at
       20   Q. Was that a concern the chief justice expressed?             20      the court, so I wasn't investigating, but I think my
       21   A. It was a concern all the justices expressed at the          21      auditor followed up on a few things, and then Val
       22      hearing.                                                    22      Washington would bring his concerns to me. I wasn't
       23   Q. Did you make a request as to what should happen at the      23      there investigating, and they certainly didn't order
       24      administrative hearing, in other words, did you say I       24      me to investigate. They ordered me -- Chief Justice
       25      think she should be placed on leave?                        25      Young put her on administrative leave, called her and




                                                                                                                 Pages 21 to 24
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                           PageID.5432                   Page 9 of 49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                  Page 25                                                           Page 27
        1      he put her on administrative leave, I didn't, and I           1      administrative aspect, but visiting judges were coming
        2      appointed a chief judge to come in and run the court          2      in to actually handle the caseload?
        3      and found other judges to manage the caseload as well.        3   A. I think Judge Washington was still solely acting as
        4      That didn't last long, but and then basically sort of         4      chief administrative judge when I filed this. I
        5      put all this together.                                        5      believe it was later in the summer when we needed him
        6   Q. So did you then begin to assemble your grievance              6      to take on caseload.
        7      complaint as soon as Judge James was placed on                7   Q. So prior to this Judge James had been the chief judge,
        8      administrative leave?                                         8      correct?
        9   A. Well, I would have to go through this point by point,         9   A. Correct. It's a one judge court.
       10      but some of this stuff I already had, like the items         10   Q. And she handled both the administrative aspect and the
       11      from Charlene McLemore's audit. The travel stuff,            11      cases, correct?
       12      that kind of evolved. And again, let me go back and          12   A. Yes.
       13      add to your previous question about the time between         13   Q. Why was it that Judge Washington when he became acting
       14      April and June. It kept growing, and so I didn't want        14      chief judge could only handle the administrative side
       15      to file a complaint and then have to file another one,       15      and not also handle the cases?
       16      you know, and so as we are going on almost daily it          16   A. It wasn't that he couldn't, it's that we wanted him to
       17      kept growing until I felt, at this point in time             17      focus on the business side of the court, the
       18      finally, I felt like I had the whole picture.                18      administrative side of the court, and that was
       19   Q. Well, but you said you weren't actually actively             19      initially what he agreed to do. He didn't want to
       20      investigating, correct?                                      20      handle the caseload. So it wasn't that he couldn't
       21   A. Correct, no.                                                 21      have, it's that that wasn't why we brought him in.
       22   Q. But you said that Ms. McLemore -- who is the auditor,        22   Q. So when you say focus on the business side, what
       23      correct?                                                     23      direction did you give him as to what he was to do on
       24   A. Correct.                                                     24      the business side?
       25   Q. She was continuing her audit work, I assume, correct?        25   A. Really very little. We brought him in as chief, and



                                                                  Page 26                                                           Page 28
        1   A. Following up, yes.                                            1      intentionally sort of brought him in and said you have
        2   Q. Did you direct her to do that?                                2      been a chief judge before, go look around, see what's
        3   A. Yes.                                                          3      what, fix what needs fixing, tell us what you need
        4   Q. And you also said that you would -- well, strike that.        4      help with, what you are worried about, gave him a
        5              First so the record is clear, Judge                   5      couple of directive -- not directives, but like there
        6      Washington was the judge appointed to take over after         6      had been a previous audit that had findings in it, and
        7      Judge James was placed on administrative leave,               7      sort of used that as kind of a roadmap here, look at
        8      correct?                                                      8      these things, Charlene's audit, here, look at these
        9   A. He was appointed as the chief judge to take over the          9      things, but other than that, you go be chief judge.
       10      administrative duties. We appointed some other judges        10   Q. Now, you did say -- Charlene is Ms. McLemore, correct?
       11      from Wayne County to take over the cases.                    11   A. Correct, I'm sorry.
       12   Q. Okay. So would his position be the interim chief             12   Q. And so she was continuing to follow up on her audit,
       13      judge at that time?                                          13      right?
       14   A. I believe we called him acting chief, yes.                   14   A. Yes.
       15   Q. But he was not handling the docket, he was just              15   Q. And during that time then, in that time I mean while
       16      handling administrative duties?                              16      Judge James was on administrative leave but before the
       17   A. At that point in time, that's correct. After awhile          17      grievance was filed, she would give you some feedback?
       18      we couldn't get visiting judges. It went on way              18   A. Yes.
       19      longer than we thought, and so he ended up taking            19   Q. Okay. And so some of that you were using to compile
       20      cases as well.                                               20      what ended up being the June grievance, right?
       21   Q. Okay. So when you say at that time, is that the time         21   A. Yes.
       22      from roughly the time she is placed on administrative        22   Q. And I think you also mentioned that you received some
       23      leave until the grievance is filed?                          23      information from Judge Washington, correct?
       24   A. At that time what? I forget.                                 24   A. Yes.
       25   Q. That Judge Washington was just handling the                  25   Q. Okay. You didn't solicit the information, correct?




                                                                                                                  Pages 25 to 28
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                             PageID.5433               Page 10 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                              Page 29                                                            Page 31
        1   A. Correct.                                                   1      the March 18, 2011 letter?
        2   Q. But Judge Washington would call you up when he             2   A. This is Charlene McLemore's document, so yes, this is
        3        discovered certain things, correct?                      3      what she prepared to show me.
        4   A. Correct, or shoot me an e-mail or whatever, but            4   Q. Okay. But all I'm trying to get at, though, is that
        5       communicate with me.                                      5      was part of the backup initially for the March 18th
        6   Q. All right. So what information he provided to you,         6      letter, correct?
        7        that was in his discretion?                              7   A. Yes.
        8   A. Correct.                                                   8   Q. Okay. So that information was known before Judge
        9   Q. So attached to the grievance you have some back-up         9      James was placed on administrative leave?
       10        material, correct?                                      10   A. Yes.
       11   A. Yes.                                                      11   Q. And if we could look at Tab C, that's an April 7th,
       12   Q. You have a bunch of exhibits here. If we could look       12      2011 letter from you to Judge James, correct?
       13        at some of them, if you turn, for example, to Exhibit   13   A. Yes.
       14        A or Tab A, I guess, to the grievance --                14   Q. And you are providing Judge James some questions that
       15   A. Okay.                                                     15      you say were directed to her by the chief justice,
       16   Q. -- that's a March 18th, 2011 letter from you to Judge     16      correct?
       17        James, correct?                                         17   A. Correct.
       18   A. Yes. This is from Charlene McLemore.                      18   Q. Now, do you recall, was this letter written before or
       19   Q. Okay. I apologize, it's from Ms. McLemore. You were       19      after that administrative docket hearing?
       20        copied on it, correct?                                  20   A. Before. This notified her to provide a response --
       21   A. Correct.                                                  21      oh, here, the administrative conference was on
       22   Q. And it's sort of under your letterhead, right --          22      Wednesday, April 13th. We needed to receive her
       23   A. Correct.                                                  23      response prior to that conference.
       24   Q. -- you are in the upper left on page 1?                   24   Q. So this helps us with some timing, right?
       25   A. Yes.                                                      25   A. Yes.



                                                              Page 30                                                            Page 32
        1   Q. You were familiar with this letter, though, in the         1   Q. Now, I thought you had told me that you had not had
        2      March 2011 timeframe; is that fair?                        2      discussions with Justice Young before the
        3   A. Oh, yes.                                                   3      administrative conference; was that correct?
        4   Q. So this letter raised, I think Ms. McLemore's words        4   A. Yes, that's what I said.
        5      are some areas of concern, do you see that?                5   Q. Okay. Does this perhaps refresh your recollection
        6   A. Yes.                                                       6      that maybe you did have a conversation with Justice
        7   Q. And it had to do with the Community Service Fund Bank      7      Young that at least resulted in these questions?
        8      Account, correct?                                          8   A. I don't know that I spoke directly with Justice Young
        9   A. Yes. I think -- I believe this letter is just              9      about this. I believe typically the way things work
       10      concerned about the Community Service Account, yes.       10      is us peons would talk to Chad Schmucker at the
       11   Q. So as of March 2011, the -- and if I call it the SCAO     11      time -- he was also a judge -- and the state court
       12      you will know what I'm referring to?                      12      administrator would talk to the chief justice, so I
       13   A. Absolutely.                                               13      don't believe I personally talked to Chief Justice
       14   Q. The SCAO knew about -- well, strike that.                 14      Young prior to that administrative hearing. I believe
       15              As of March 2011 the SCAO had expressed           15      Chad Schmucker did.
       16      concerns about the Community Service fund, right?         16   Q. Well, do you recall having discussions with Mr.
       17   A. Correct.                                                  17      Schmucker about Judge James prior to the, what we now
       18   Q. And that's before Judge James is placed on                18      can put as an April 13th administrative hearing?
       19      administrative leave?                                     19   A. Yes.
       20   A. Yes.                                                      20   Q. What were your discussions with Mr. Schmucker?
       21   Q. If we could turn to Tab B, and this looks like check      21   A. That I felt we, at the very least needed to appoint an
       22      register info from that account?                          22      outside chief judge, which requires Supreme Court,
       23   A. Yes.                                                      23      they are the ones that make the appointment, so I
       24   Q. And I think that was -- well, strike that.                24      talked to Chad about, Mr. Schmucker, about that I
       25              Was that part of what was reviewed prior to       25      needed to get in front of the Supreme Court.




                                                                                                              Pages 29 to 32
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                                 PageID.5434                  Page 11 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                    Page 33                                                           Page 35
        1    Q. Now, at that administrative hearing we talked about            1    A. Yes.
        2        you were there, you told us that, right?                      2    Q. It certainly couldn't be earlier than May 2nd if we
        3    A. Yes.                                                           3        believe that date, and we have no reason not to,
        4    Q. Did Mr. Schmucker also appear there?                           4        right?
        5    A. Yes.                                                           5    A. Correct.
        6    Q. Did he speak also? On this particular issue I'm                6    Q. And if we can turn to Tab F, and this one is entitled
        7        focussing on.                                                 7        22nd District Court Community Service Account Checks
        8    A. I don't believe so. If he did, it was very cursory.            8        by Payee at the top, do you see that?
        9    Q. If we could turn to Tab D, this would appear to be the         9    A. Yes.
       10        response from Judge James to your April 7th letter,          10    Q. Is this also -- well, strike that.
       11        correct?                                                     11                 Do you know if this is also a document
       12    A. Correct.                                                      12        prepared by Ms. McLemore?
       13    Q. And just to be clear, do you recall receiving this            13    A. It is.
       14        before that administrative hearing? I mean it doesn't        14    Q. And you see also in the lower left when we look at
       15        say how this letter was delivered. I mean it's dated         15        this in landscape, it has the same date, Monday, May
       16        April 11.                                                    16        2, 2011, correct?
       17    A. I did receive it before the administrative hearing,           17    A. Correct.
       18       yes.                                                          18    Q. So this would also be a document that you would have
       19    Q. Did this letter change at all any of your opinions            19        received after Judge James was placed on
       20        about what you were going to say at the administrative       20        administrative leave?
       21        hearing?                                                     21    A. Correct. Again, this is just reorganizing the
       22    A. No.                                                           22       information from the check register. It's not new
       23    Q. Did this letter get passed along to Mr. Schmucker?            23       information.
       24    A. Yes.                                                          24    Q. So it's not new information, it's just a different
       25    Q. Did this letter get passed along to the chief justice?        25        presentation?


                                                                    Page 34                                                           Page 36
        1   A. Yes.                                                            1   A. Correct.
        2   Q. If we could look at Tab E, that's a document entitled           2   Q. If we could turn to Tab G, and that looks to be a
        3      22nd District Court Community Service Account                   3      series of checks and check requests. I'm not going to
        4      Disbursement Summary, do you see that?                          4      go through every page, but would you generally agree
        5   A. Yes.                                                            5      with me?
        6   Q. Do you know what that document is?                              6   A. Yes.
        7   A. This I believe was also created by Charlene McLemore.           7   Q. Okay. Do you know what these were?
        8      She sort of presented the same information to us in a           8   A. Checks and check requests.
        9      number of different ways. The first one was the basic           9   Q. What was the purpose of attaching these to your
       10      check register that is sort of by check number, and            10      grievance, what were these meant to support?
       11      then she grouped things into similar types of                  11   A. I would have to go through them, but I believe this
       12      expenses, and so I believe that's what she called the          12      section had to do with the concerns about travel
       13      disbursement summary.                                          13      expenses.
       14   Q. And you will see in the -- sort of if you turn the             14   Q. Okay.
       15      document -- well, you have the right orientation, but          15   A. I don't know if that's everything that's in here, but
       16      you will see in the lower left when it's orientated in         16      I think that was what this section was about.
       17      sort of landscape, right --                                    17   Q. Okay. And do you recall whether you had this group of
       18   A. Yes.                                                           18      documents before Judge James was placed on
       19   Q. -- you see it says Monday, May 2, 2011?                        19      administrative leave?
       20   A. Correct.                                                       20   A. I don't believe I did.
       21   Q. Do you recall if you would have received this document         21   Q. Do you know where you got this group of documents
       22      in or around, on or around May 2, 2011?                        22      from?
       23   A. That would make sense.                                         23   A. From the court, from either Judge Washington or Pamela
       24   Q. So this would probably be something that you received          24      Anderson, or it might -- either -- Charlene might have
       25      after Judge James was placed on administrative leave?          25      requested some of it. I'm not sure, but it would have




                                                                                                                    Pages 33 to 36
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                               PageID.5435                         Page 12 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                 Page 37                                                                   Page 39
        1      come from the court itself.                                  1   Q. And do you recall why you were attaching -- well,
        2   Q. You will also note, for example, the very first              2       strike that.
        3      document, it's a check, but it is from an account by         3                First of all, did you go into the SCAO
        4      the City of Inkster, right?                                  4       records to get these copies?
        5   A. Yes.                                                         5   A. Yes.
        6   Q. Okay.                                                        6   Q. Okay. And were you attaching them -- well, strike
        7   A. I mean that's what it looks to be to me.                     7       that.
        8   Q. In other words, it's not an account where the holder         8                Was the purpose of attaching them behind
        9      is the District Court, right, I mean it says City of         9       this first page with this leave summary to show there
       10      Inkster?                                                    10       was some disparity between whoever prepared this
       11   A. It says City of Inkster, yes.                               11       summary and the memorandums that were submitted?
       12   Q. Okay. If you could look at the next Tab, Tab H --           12   A. Well, partially, because I think there is other
       13   A. Okay.                                                       13       summaries from other years. Yeah, later on in the
       14   Q. First of all, do you recall who prepared -- well, I         14       exhibit there is '06 of internal documents from the
       15      guess I'm sorry. There is a few pages here. Let's           15       court, but yes, to show that there was a discrepancy
       16      focus on the first page.                                    16       between the records that the court had and what had
       17   A. Okay.                                                       17       been reported to me, to SCAO.
       18   Q. Do you recall who prepared that first page, entitled        18   Q. But as you said, you did not know who prepared the
       19      Judge James' Leave at the top?                              19       first page of this document, correct?
       20   A. I don't know exactly who prepared it, but it came to        20   A. Correct.
       21      me from the court.                                          21   Q. So you would have no way of knowing whether this
       22   Q. Do you recall from who, who at the court sent it to         22       document, page 1, that the first page of Tab H was
       23      you?                                                        23       accurate or whether the reports were accurate,
       24   A. Sent it to me, I believe it was Pamela Anderson, but I      24       correct?
       25      don't know that she created it.                             25   A. Correct.



                                                                 Page 38                                                                   Page 40
        1   Q. Okay. Now, behind that it looks to be a number of            1   Q. And did you do any further investigation to try to
        2       pages, similar pages that are memos from Judge James        2      figure out which one of those was accurate?
        3       to SCAO Region 1. Do you see those?                         3   A. Well, I believe that's how we got these later internal
        4   A. Correct, yes.                                                4      memorandums, memoranda, because I asked for the actual
        5   Q. And some of them are a little different in format,           5      documentation that the court had, which I think they
        6       right, but they look similar?                               6      had for some years but not others, if I remember, so,
        7   A. Yes.                                                         7      yeah, I followed up, but it was clear to me that there
        8   Q. And it looks to me like these are summaries of Judge         8      were definitely some discrepancies.
        9       James' leave for various time periods. Would that be        9   Q. And if we could look at an example maybe of what you
       10       correct?                                                   10      are talking about, you will see there is, I think it
       11   A. These are her annual leave reports to me, which is          11      would be a Bates number in the center of the page --
       12      required.                                                   12   A. I don't know what you are looking at.
       13   Q. So that's a document that -- well, strike that.             13   Q. If we look at the little sort of --
       14                 Is each judge required to provide that           14   A. Oh, yeah, on all these.
       15       document or is it each District Court?                     15   Q. -- that black box with the little numbers, so if we
       16   A. Well, each judge has to report their leave. It              16      could refer to that. If we look at 2327, would that
       17      comes -- the chief judge of every court files it with       17      be an example of an internal memorandum?
       18      us, so if you are multi judge court, the judges report      18   A. 2327, yes.
       19      to their chief and the chief sends a report to us.          19   Q. Okay. And do you recall where you received these
       20   Q. Okay. So in this case it doesn't matter, it happens         20      internal memorandum?
       21       to be a single judge court?                                21   A. The court sent them to me, whether it was Val
       22   A. Exactly.                                                    22      Washington or Pam Anderson, or if I got them through
       23   Q. Okay. So the SCAO received these reports from Judge         23      Charlene, because she was on site much more than me,
       24       James each year, correct?                                  24      but I got them from the court.
       25   A. Yes.                                                        25   Q. This is not something that is submitted to the SCAO,




                                                                                                                         Pages 37 to 40
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                          PageID.5436                      Page 13 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                               Page 41                                                             Page 43
        1      correct, this was internal, meaning internal to the        1      your docket.
        2      22nd District Court so far as you understand?              2   Q. Right.
        3   A. Correct.                                                   3   A. So it's not unheard of that the judges are still
        4   Q. And you understood these to reflect dates that Judge       4      there, but usually it's not a day-to-day thing.
        5      James was on leave?                                        5      Usually it's because a judge is missing, especially in
        6   A. Yes. She is the only judge.                                6      a one judge court, if you are going to be gone, you
        7   Q. Well, for example, in the one we were looking at, page     7      can't leave your court sitting fallow for a week or
        8      2327, the subject is requests for assignment 2006,         8      more, so you need another judge to come in and keep
        9      correct?                                                   9      the cases going while you are gone.
       10   A. Correct.                                                  10   Q. So just so you can help me out in terms of how you
       11   Q. And it's from Gerry Hearn, do you see that?               11      interpreted these dates, because I'm a little
       12   A. Yes.                                                      12      confused, so for example, under annual leave, and I'm
       13   Q. Do you know who he is?                                    13      still looking at the same page, right, 2327 --
       14   A. He's the former court administrator.                      14   A. Yes.
       15   Q. And in the first sort of section is annual leave, do      15   Q. -- for example, the first date under annual leave is
       16      you see that?                                             16      2-21, right, you see that?
       17   A. Yes.                                                      17   A. Correct, yeah.
       18   Q. And you understood that to mean annual leave by Judge     18   Q. But there is no assist with docket for 2-21, correct?
       19      James, not some other employee of the 22nd District       19   A. Correct.
       20      Court, correct?                                           20   Q. Okay. And conversely, for example, you see assist
       21   A. Correct, because requests for assignment is requests      21      with docket on 1-3, do you see that, that's the first
       22      for assignment of an outside judge.                       22      one?
       23   Q. Now, every day that a judge is out, there is not a        23   A. Yes.
       24      request for assignment for another judge, correct?        24   Q. But there is no leave noted for 1-3, correct?
       25   A. Not necessarily.                                          25   A. Yes.



                                                               Page 42                                                             Page 44
        1   Q. Do you see the heading that says Assist With Docket?       1   Q. Okay. So how did you interpret this?
        2   A. Yes.                                                       2   A. I didn't.
        3   Q. Do you know what that means?                               3   Q. Okay. So when you were concerned about the numbers,
        4   A. Yes.                                                       4      what were you comparing?
        5   Q. What does that mean?                                       5   A. Well, first off, just annual leave alone she reported
        6   A. We do several kinds of assignments, and assist with        6      far less days to us than apparently her court had
        7      docket basically means another judge is coming into        7      records for internally.
        8      the court to do just that, assist with the docket          8   Q. So in other words, you are saying just so I
        9      because the judge is out sick or on vacation. It           9      understand, that on the page we were looking at, you
       10      differentiates -- we have different rules for assist      10      were looking at the 31, the total for annual leave; is
       11      with docket assignments as opposed to assignments         11      that correct?
       12      where a judge has disqualified themselves. So this        12   A. Well, and I was also looking at -- we had a general
       13      was a simple assist with docket -- or that shows          13      concern for her attendance, and so -- but yes, because
       14      assist with docket assignments.                           14      if you look at what she reported to us for '06, she
       15   Q. So assist with docket would mean that the sitting         15      reports 19 days of annual leave -- or wait, this is
       16      judge is there?                                           16      '06. This is what she reported for '05. But none of
       17   A. No.                                                       17      it matched up, and plus it was an excessive amount of
       18   Q. Okay. Explain it again. I apologize.                      18      time off the bench.
       19   A. I mean not -- it wouldn't make any sense for the judge    19   Q. But just so I'm understanding this, was it the
       20      to be there, I mean unless they needed help, and we do    20      suggestion that it was the 31 days plus the 20 assist
       21      occasionally do that, assist with docket assignments.     21      with docket days that Judge James wasn't there, was
       22      Like let's say you get the Kwame Kilpatrick trial --      22      that the interpretation of this document?
       23   Q. I remember.                                               23   A. That was part of my interpretation. Like I said, I
       24   A. -- and it's going to eat your whole docket, and you       24      had two concerns, one was misreporting, the other was
       25      need somebody to come in and help you with the rest of    25      just an excessive amount of time off the bench,




                                                                                                               Pages 41 to 44
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                            PageID.5437                  Page 14 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                            Page 45                                                                Page 47
        1      whether it was reported or not.                           1   Q. Do you know when you got this document?
        2   Q. And you said that this had been an existing concern;      2   A. It would have been after she was put on administrative
        3      is that right?                                            3      leave.
        4   A. Yes.                                                      4   Q. So this was some new bit of information after she was
        5   Q. And when you say existing, you mean prior to Judge        5      placed on administrative leave, correct?
        6      James being placed on administrative leave in April       6   A. Correct.
        7      2011?                                                     7   Q. Could we look now, could I ask you to turn now to Tab
        8   A. Yes.                                                      8      J?
        9   Q. Okay. Had the SCAO taken any steps to investigate         9   A. Okay. All right.
       10      that at any time prior to April 2011?                    10   Q. And that's a document, the title at the top is Budget
       11   A. No.                                                      11      Report for City of Inkster. Do you see that?
       12   Q. Had you expressed that particular concern to anyone      12   A. Yes.
       13      prior to April 2011?                                     13   Q. Okay. And a little bit below that it says
       14   A. To anyone? Probably internally in my office, but not     14      calculations as of 4-30-2011. Do you see that?
       15      in any official manner, no.                              15   A. Yes.
       16   Q. And then that would mean not to the justices; is that    16   Q. And I guess in the upper right it looks like perhaps
       17      correct?                                                 17      that's a printed date, and it gives the date of April
       18   A. Correct.                                                 18      19, 2011. Do you see that?
       19   Q. Okay. Was this part of the concerns raised in April      19   A. Upper left? Yes.
       20      2011 in connection with the administrative docket        20   Q. Maybe it's hard to see. I'm sorry. It's stapled. Do
       21      hearing, was attendance an issued raised?                21      you want to look at mine?
       22   A. No.                                                      22   A. No, I have got it.
       23   Q. Okay. Let me just ask you one more question on these,    23   Q. So this would be a document that you received after
       24      and if you could look sort of -- I want to compare two   24      Judge James was placed on administrative leave; would
       25      of these. If you look at the document we were just       25      that be correct?



                                                            Page 46                                                                Page 48
        1       looking at and the Bates stamp, we will call it as       1   A. Yes.
        2       2327, and if you look also if you could at the next      2   Q. Do you recall how you received this document?
        3       page, which is 2328 --                                   3   A. No.
        4   A. Yes.                                                      4   Q. Do you recall from whom you received this document?
        5   Q. -- and you see that both of those say requests for        5   A. It would have come to me from the court. I don't know
        6       assignment 2006, right, under the subject?               6      who exactly sent it to me.
        7   A. Yes.                                                      7   Q. You to see at the top where it says User:
        8   Q. But one appears to be dated, page 2328 is dated           8      PANDERSON --
        9       December 6, 2005, but 2327 is dated January 5, 2007.     9   A. Correct.
       10       Do you see that?                                        10   Q. -- the upper left second line?
       11   A. Yes.                                                     11   A. Yes.
       12   Q. How did you figure out what year these were actually     12   Q. And you did know that Pam Anderson was a clerk at the
       13       supposed to reflect?                                    13      22nd District Court at that time, correct?
       14   A. I don't know.                                            14   A. She was the court administrator.
       15   Q. Okay. If we could look next at Tab I, and the first      15   Q. Court administrator, I apologize.
       16       page sort as a title is the Cover Sheet, 2011           16   A. Right.
       17       Preliminary Internal Calendar. Do you see that?         17   Q. If we could flip now to Tab K, and that's a document
       18   A. Yes.                                                     18      entitled 2010 Case Age Summary Report, do you see
       19   Q. Do you know what this document is?                       19      that?
       20   A. I believe it's an internal document that the court       20   A. Yes.
       21      used to manage their docket on an annual basis.          21   Q. And that looks to be for the calendar year 2010; is
       22   Q. Was this something that is provided to the SCAO?         22      that right?
       23   A. No.                                                      23   A. Correct.
       24   Q. Do you recall where you got this document from?          24   Q. Was this an SCAO document?
       25   A. From the court. I don't know from exactly who.           25   A. It is.




                                                                                                                 Pages 45 to 48
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                          PageID.5438                    Page 15 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                               Page 49                                                           Page 51
        1   Q. Okay. So this would be a document that you would have      1      magistrate that was at issue, correct?
        2      had access to prior to April of 2011, correct?             2   A. Correct.
        3   A. Yes.                                                       3   Q. And it looks like in the lower right the date says May
        4   Q. Okay. So that's not new?                                   4      11, 2011, do you see that?
        5   A. No.                                                        5   A. Yes.
        6   Q. If you could turn with me to Tab L, and it looks to be     6   Q. So fair to say this was something that was generated
        7      a compilation of documents regarding the appointment       7      after Judge James was placed on administrative leave?
        8      of a magistrate in the 22nd District Court --              8   A. Yes.
        9   A. Yes.                                                       9   Q. And then the next five pages are amended
       10   Q. -- is that correct?                                       10      administrative order, 2002, dash -- there is some
       11   A. Yes.                                                      11      handwriting, I guess it's hard for me to tell if
       12   Q. And would you agree with me that the first portion of     12      that's a 2, but I'm talking about pages 2381 to 2386,
       13      these documents, and that would be Bates numbers 2369     13      do you see that?
       14      through 2376, appear to be from the December 2002         14   A. Yes.
       15      timeframe; is that correct?                               15   Q. Do you know if this is -- well, strike that.
       16   A. Yes.                                                      16                This appears to be an administrative order
       17   Q. And that would be material that the SCAO would have       17      from the 22nd District Court, correct?
       18      had in 2002; is that correct?                             18   A. Correct.
       19   A. Yes.                                                      19   Q. And those need to be approved by the SCAO; is that
       20   Q. Okay. The next document, and I think it's one             20      correct?
       21      document, appears to be a fax because you can see a       21   A. Correct.
       22      fax line at the top consecutively numbered, appears to    22   Q. Okay. To your knowledge was this something that the
       23      be a fax from Ms. Anderson to you, do you see that,       23      SCAO had approved in around the 2002 timeframe?
       24      starting at page 2377 through page 2379?                  24   A. I don't know. I know this predates me joining the
       25   A. Yes.                                                      25      SCAO.


                                                               Page 50                                                           Page 52
        1   Q. And the date on the first page is May 9, 2011?             1   Q. Did you search the SCAO's records to locate this or
        2   A. Yes.                                                       2      was this something that was provided to you, if you
        3   Q. And that actually matches up with the fax line at the      3      recall?
        4      top, right?                                                4   A. I believe I pulled it up.
        5   A. Yes.                                                       5   Q. Okay. So it was certainly something that you had
        6   Q. Do you recall receiving this?                              6      access to prior to April of 2011, correct?
        7   A. Yes.                                                       7   A. Yes.
        8   Q. Okay. So this would have been something you received       8   Q. The next document that's part of Tab J, it's pages
        9      in May 2011?                                               9      2386 and 2387 --
       10   A. Correct.                                                  10   A. I think we are on Tab L.
       11   Q. Okay. And that would be after Judge James was placed      11   Q. You are right, I'm sorry, Tab L.
       12      on administrative leave?                                  12   A. So yeah.
       13   A. Yes.                                                      13   Q. So it's pages 2386 and 2387.
       14   Q. The next page, Bates numbers 2380, at the top it looks    14   A. Okay.
       15      like Search Real Estate Index, Wayne County Land          15   Q. It appears to be a memorandum dated November 4, 2002.
       16      Records Internet Search, do you see that?                 16      Do you see that?
       17   A. I'm sorry? Oh, I'm sorry, 2380?                           17   A. Yes.
       18   Q. Just for the purposes of the title.                       18   Q. And it's to John D. Ferry, do you see that?
       19   A. Yes, yep.                                                 19   A. Yes.
       20   Q. Do you know what this document is?                        20   Q. Do you know who Mr. Ferry is?
       21   A. It is I think like a Google search of Wayne County        21   A. Yes.
       22      land records to show property owners.                     22   Q. Who is he?
       23   Q. And do you recall if you performed this search?           23   A. Former state court administrator, probably left in
       24   A. My secretary did.                                         24      '04.
       25   Q. Okay. And this is on Jeffrey Bowdich, he is the           25   Q. Was he a Region 1 administrator?




                                                                                                             Pages 49 to 52
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                           PageID.5439                  Page 16 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                               Page 53                                                          Page 55
        1   A. State, the whole state of Michigan.                        1      until we got there.
        2   Q. State. Okay.                                               2   Q. Well, let's --
        3   A. He was my boss.                                            3   A. What else?
        4   Q. Okay. So fair to say this is a document the SCAO had       4   Q. Well, let's talk about, for example, the attendance.
        5       prior to April of 2011?                                   5      You agreed with me that that had been a concern that
        6   A. Yes.                                                       6      you had at least well before April 2011, correct?
        7   Q. The next document is a letter dated November 21, 2002      7   A. Yes.
        8       from Mr. Ferry to Judge James, the Bates number at the    8   Q. Okay. But you hadn't done anything to investigate
        9       bottom is 2388. Do you see that?                          9      that any further, correct?
       10   A. Yes.                                                      10   A. No.
       11   Q. Was this a document that you pulled from the SCAO         11   Q. Because you hadn't --
       12       file?                                                    12   A. Correct.
       13   A. Yes.                                                      13   Q. -- gotten some of these documents that we looked at
       14   Q. And fair to say that the SCAO had this document well      14      related to attendance until later, right?
       15       before April 2011?                                       15   A. Yes.
       16   A. Correct.                                                  16   Q. Okay.
       17   Q. The last document in Tab L is Bates number 2389, do       17   A. Sadly judicial attendance is not a singular judge
       18       you see that?                                            18      problem, it's a bigger issue.
       19   A. Uh-huh.                                                   19   Q. Now, the other concern -- well, another concern that
       20   Q. That's another letter from Mr. Ferry to Judge James,      20      was part of the grievance was the Community Service
       21       this one dated October 21st, 2002. Do you see that?      21      Fund, correct?
       22   A. Yes.                                                      22   A. Yes.
       23   Q. And was this also a document that you pulled from the     23   Q. Okay. And in fact the SCAO had looked into the
       24       SCAO files?                                              24      Community Service fund in 2009, correct?
       25   A. Yes.                                                      25   A. Looked in to it, I don't know what you are referring



                                                               Page 54                                                          Page 56
        1   Q. And fair to say that this is also a document that the      1      to.
        2      SCAO had prior to April 2011?                              2              MR. HIRSCH: Can we mark this, please?
        3   A. Yes.                                                       3              MARKED FOR IDENTIFICATION:
        4   Q. If we could look now at the last Tab, Tab M, and again     4              DEPOSITION EXHIBIT 2
        5      it looks to be something of a compilation of documents     5              10:36 a.m.
        6      with some checks and check activity reports, I think;      6   BY MR. HIRSCH:
        7      would that be a fair description?                          7   Q. Ma'am, our court reporter has just handed you what we
        8   A. Yes.                                                       8      have marked as Exhibit 2 to your deposition. It looks
        9   Q. And were you attaching these documents because you had     9      to be a memorandum dated October 21, 2009, to you from
       10      some concerns about certain checks being paid out for     10      Ms. McLemore. Do you have that in front of you?
       11      legal services?                                           11   A. Yes.
       12   A. It was not about the checks -- well, yes.                 12   Q. Does this refresh your recollection that your office
       13   Q. And do you recall where you got this set of documents     13      had looked into the Community Service Fund in 2009?
       14      from? Or if it's different for any particular             14   A. We hadn't really looked into it at this stage. We had
       15      document, you can certainly tell me that.                 15      gotten an anonymous tip, and the anonymous tip had
       16   A. I believe we got these from the courts. I don't think     16      actually come into the audited section in Lansing, not
       17      I got any of these from Sharon McPhail directly, but I    17      directly to my office, and so we were aware of it,
       18      believe these came to us through the court.               18      which is what caused me to look into the fact that it
       19   Q. So it is fair to say that some of the issues that         19      appeared in an outside audit, and so I felt -- yeah,
       20      ended up in the grievance the SCAO had known about        20      Darnell and Meyering. And so I confirmed that the
       21      well in advance of the grievance, correct?                21      court had a copy of Darnell and Meyering's audit and
       22   A. I don't know which ones you are referring to. If you      22      so did the city, and so therefore it was out in front
       23      are referring to the magistrate one, we had been told     23      of them, so I didn't do anything further. So to say I
       24      he moved into the district, so I mean, yeah, there had    24      looked into it at this point, no, I didn't.
       25      been concerns, but we thought it had been rectified       25   Q. Well, fair to say then that you didn't think there was




                                                                                                              Pages 53 to 56
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                              PageID.5440                   Page 17 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                  Page 57                                                            Page 59
        1      a need to look into it any further at that time,              1      Do you have that in front of you?
        2      correct?                                                      2   A. Yes, I do.
        3   A. Because I thought all the parties were already aware.         3   Q. Does this refresh your recollection as to who Mr.
        4   Q. I take it given that you called it an anonymous tip,          4      Jones is?
        5      you never came to learn who left that tip; is that            5   A. Yes.
        6      correct?                                                      6   Q. Okay. And this letter is in reference to a Freedom of
        7   A. Correct.                                                      7      Information Request issued by Mr. Jones, correct?
        8   Q. And clearly no grievance was filed in 2009, correct?          8   A. Yes.
        9   A. Correct.                                                      9   Q. And you write back to Mr. Jones and you tell him
       10   Q. So you certainly did not think it rose to that level,        10      please be advised that the courts are not subject to
       11      correct?                                                     11      the Freedom of Information Act, correct?
       12   A. Correct, not at that time.                                   12   A. Correct.
       13   Q. And we looked earlier at Exhibit 1, the grievance that       13   Q. And that's accurate, right?
       14      you submitted in June of 2011, right?                        14   A. Correct.
       15   A. Correct.                                                     15   Q. Do you recall what information Mr. Jones was seeking?
       16   Q. Do you know if anyone else submitted any other               16   A. There were concerns about the fact that the city was
       17      grievances with respect to Judge James in or around          17      attempting to order the court -- telling the court
       18      that time period?                                            18      that they couldn't shift money amongst line items in
       19   A. I do not know.                                               19      their budget, and therefore the city was refusing to
       20   Q. Do you know who David Jones is?                              20      pay some of the court's bills. So the court was, I
       21   A. Boy, the name rings a bell.                                  21      don't know where they were in the process in November,
       22   Q. Well, let me ask if this refreshes your memory. Do           22      but had taken over paying some of their own bills or
       23      you recall that David Jones was an attorney for the          23      were in the process, and the -- he was claiming that
       24      City of Inkster?                                             24      the court was violating 98-5, but really 98-5 says the
       25   A. Okay. I thought he was a treasurer, but, okay, an            25      court can shift money amongst line items. So anyway,



                                                                  Page 58                                                            Page 60
        1      attorney, I will take it.                                     1      it had to do with that whole business of shifting line
        2   Q. Okay.                                                         2      item money from line items in the budget and the court
        3   A. I recognize the name, and he had something to do with         3      then taking it upon themselves to start paying its own
        4      the city.                                                     4      bills.
        5   Q. Okay. Do you recall then if you had any conversations         5   Q. And that's the reference in the next sentence to
        6      with Mr. Jones about this issue?                              6      administrative order, 1998-5, right?
        7              MS. MILLER: When you say this issue, do               7   A. Correct.
        8      you mean the audit or the Judge James in general?             8   Q. That discusses how a court can handle its budget,
        9   BY MR. HIRSCH:                                                   9      right?
       10   Q. I'm sorry, Judge James in general, do you recall if          10   A. Yes.
       11      you had any conversations with Mr. Jones?                    11   Q. Among other things, right --
       12   A. I believe I may have once, but I honestly don't              12   A. Yes.
       13      remember any details or anything about it or if I even       13   Q. -- but that's one thing, right?
       14      really did talk to him, but the name rings a bell, so        14   A. Yes.
       15      it must ring a bell for a reason.                            15   Q. Now, you also say in here that you plan to meet with
       16   Q. Okay. Let me see if I can help you a little bit more.        16      the chief judge and court administrator in the near
       17              MR. HIRSCH: Can we mark this, please?                17      future to discuss the issues you have raised, do you
       18   A. It was a long time ago.                                      18      see that?
       19              MARKED FOR IDENTIFICATION:                           19   A. Yes.
       20              DEPOSITION EXHIBIT 3                                 20   Q. And that would be referring to Judge James, right?
       21              10:39 a.m.                                           21   A. Judge James and -- yes, the chief judge is referencing
       22   BY MR. HIRSCH:                                                  22      Judge James, yes.
       23   Q. Our court reporter has just handed you what we have          23   Q. She is copied at the bottom, right?
       24      marked Exhibit 3 to your deposition. It appears to be        24   A. Correct.
       25      a November 16, 2010 letter from you to David Jones.          25   Q. And I guess whoever the court administrator was in




                                                                                                                   Pages 57 to 60
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                           PageID.5441                   Page 18 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                Page 61                                                          Page 63
        1       2010?                                                      1      bills, but you don't just get to keep all the money.
        2   A. Carl Gromek.                                                2      The courts of pass-throughs of money, so I believe I
        3   Q. Did you in fact have that meeting?                          3      informed her at that meeting that you are in essence
        4   A. Yes.                                                        4      violating 98-5 because you're not forwarding the rest
        5   Q. Do you recall when you had that meeting?                    5      of it.
        6   A. Well, it was later in that year, I'm pretty sure it         6   Q. And I presume then that you told them to correct that
        7       was still in fiscal year or calendar year 2010. I          7      to comply with 1998-5; is that right?
        8       don't remember exactly. It might have been early --        8   A. Yes.
        9       it was still that winter. It might have been early         9   Q. Do you know whether they did that?
       10       the next year.                                            10   A. They did months and months and months later.
       11   Q. And you think Mr. Gromek was the court administrator       11   Q. You certainly did not think that this violation rose
       12       at that time, not Ms. Anderson?                           12      to the level of filing a grievance, right?
       13   A. No, no, no, Carl Gromek --                                 13   A. Correct.
       14   Q. I'm sorry.                                                 14   Q. And you did not in fact file a grievance --
       15   A. -- was the state court administrator.                      15   A. Correct.
       16   Q. I'm sorry, he was the state court administrator, I         16   Q. -- on this issue, right?
       17       apologize. But when you say in here you are going to      17   A. Right. It takes a lot to get me to file a grievance.
       18       meet with the court administrator, were you referring     18               MR. HIRSCH: Can we mark this, please?
       19       to Mr. Gromek or were you referring to the                19               MARKED FOR IDENTIFICATION:
       20       administrator at the 22nd District Court?                 20               DEPOSITION EXHIBIT 4
       21   A. The administrator at the 22nd District Court.              21               10:45 a.m.
       22   Q. Okay. Now, when you did have that meeting, Judge           22   BY MR. HIRSCH:
       23       James was there; is that correct?                         23   Q. Ma'am, the court reporter has just handed you what we
       24   A. Correct.                                                   24      have marked as Exhibit Number 4 to your deposition.
       25   Q. Okay. Was anybody else there?                              25      It appears to be a memorandum from you to Mr.



                                                                Page 62                                                          Page 64
        1   A. I believe Pam Anderson was there.                           1       Gromek --
        2   Q. And she was the 22nd District Court administrator,          2   A. Correct.
        3      right?                                                      3   Q. -- dated 12-1-2010, correct?
        4   A. Correct.                                                    4   A. Yes.
        5   Q. And you were there, correct?                                5   Q. This is a memo you prepared?
        6   A. Yes.                                                        6   A. Yes.
        7   Q. Was anybody else there from the SCAO?                       7   Q. And you copied Judge James on this memo, right?
        8   A. I don't recall. The only other person that might have       8   A. Yes.
        9      been there would have been Charlene McLemore. I don't       9   Q. You copied Ms. Anderson?
       10      recall if she was actually at that meeting.                10   A. Yes.
       11   Q. Fair to say that you did not determine that there had      11   Q. And Ron Stadnika?
       12      been any violation of administrator order 1998-5?          12   A. Correct.
       13   A. No, that's not fair to say.                                13   Q. Who is Mr. Stadnika?
       14   Q. Okay.                                                      14   A. He at the time was the head of the State Court
       15   A. I believe at the time of that meeting had some concern     15       Administrative Offices auditing division.
       16      about the fact that the court while it had taken on        16   Q. And this is a memo memorializing your -- the way you
       17      paying its own bills, once you pay those bills you are     17       addressed the issue about the court's handling of
       18      supposed to forward the rest of the money over to the      18       funds, right, the issue we were just discussing from
       19      funding unit, which with a this case was the City of       19       the David Jones letter?
       20      Inkster, and the court hadn't done that. They were         20   A. Yes.
       21      holding on to all the money, and so I believe at that      21   Q. Okay. And you determined that no further mediation
       22      meeting was my first talk to her about, here, this is      22       was necessary, correct, that's under your conclusion
       23      how -- you know, there is a right way and a wrong way      23       on page 3?
       24      to have a court pay its own bills. It's fairly             24   A. Do I say that? Okay.
       25      unusual but not unheard of for a court to pay its own      25   Q. First sentence under conclusion, right, you agree with




                                                                                                                Pages 61 to 64
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                                PageID.5442                  Page 19 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                   Page 65                                                            Page 67
        1      that?                                                          1      meetings?
        2   A. Right, because there was a council meeting coming up.          2   A. I don't really recall. It's possible Paul Fischer
        3      We thought that was going to resolve everything.               3      was, but I don't really recall. Maggie was the lead
        4   Q. Right. You indicated that you had some hope that the           4      attorney on it.
        5      City of Inkster would pass a resolution allowing the           5   Q. What was the nature of your discussion with Ms.
        6      court to move money between line items, right, without         6      Ryneir, Maggie?
        7      city prior approval, right?                                    7   A. Answering her questions about, you know, the
        8   A. Correct.                                                       8      background and providing documents and that kind of
        9   Q. By the way, do you know if that ever happened?                 9      thing.
       10   A. I don't. I don't remember.                                    10   Q. Do you recall what questions she asked you about the
       11   Q. And in fact you determined that at its core this was          11      background?
       12      not really a dispute about funding of the court,              12   A. No.
       13      right?                                                        13   Q. Okay. Do you recall what documents you provided
       14   A. Right.                                                        14      beyond what is attached, if anything, beyond what's
       15   Q. And you also determined that the city's allegations           15      attached to your grievance?
       16      that the court refused to communicate or meet with it         16   A. I can't imagine what else I would have had other than
       17      was not true, right?                                          17      what's attached here.
       18   A. Do I say that?                                                18   Q. And just so the record is clear, you said Mr. Fischer
       19   Q. You do.                                                       19      may or may not have been there, you're not sure,
       20   A. Okay, then yeah.                                              20      correct?
       21   Q. I'm happy to refer you if you want to look at it.             21   A. I don't actually remember him being there. I remember
       22   A. No, no, that's okay.                                          22      meeting with Maggie, but whether he was in the same
       23   Q. And take your time, as with any document, by the way.         23      room at any time, it could have happened. I don't
       24   A. No, if I said it, I believe it.                               24      know.
       25   Q. Okay. Focussing again on the grievance you did file,          25   Q. Did you have any conversations with Mr. Fischer about



                                                                   Page 66                                                            Page 68
        1       Exhibit 1 in June 2011, did you speak to anyone at the        1       Judge James' matter? And I guess to make the
        2       JTC prior to filing your grievance in June 2011? And          2       timeframe I guess more accurate, I'm talking about in
        3       I'm referring of course about Judge James.                    3       or around, you know, June 2011 when the complaint was
        4   A. I don't believe I did.                                         4       being considered.
        5   Q. After you filed the grievance, did you have                    5   A. No. I believe I talked to him briefly just before the
        6       communications with anyone from the JTC?                      6      hearing just about, you know, here is what is going to
        7   A. Typically they would contact our office and ask for            7      happen, but no, at this time not at all.
        8      comments, so I would respond to whatever they                  8   Q. So that would be before the formal hearing which took
        9      requested.                                                     9       place in January of 2012 --
       10   Q. You recall that you gave some testimony at the formal         10   A. Okay.
       11       hearing on Judge James' complaint, correct?                  11   Q. -- mid to late January? It went on for a number of
       12   A. Yes.                                                          12       days, right?
       13   Q. I'm sure not fondly, I can tell, right?                       13   A. Yes.
       14   A. It made me a TV star, though, so I got that going for         14   Q. Do you know a gentleman named Cas Swastek?
       15      me.                                                           15   A. Yes.
       16   Q. Okay. Your testimony was true and accurate, correct?          16   Q. Okay. Who is he?
       17   A. Yes.                                                          17   A. He's another attorney in the Tenure Commission's
       18   Q. You testified at that time that you had, you think you        18      office.
       19       met with the examiner's office twice. Would that be          19   Q. Did you ever have any conversation was Mr. Swastek
       20       accurate?                                                    20       about Judge James' matter?
       21   A. That would sound right, yes.                                  21   A. Boy, it's possible. I hate to belittle Cas, but he
       22   Q. And do you recall who you met with in each of those           22      was kind of a lower echelon guy, so he may have been
       23       meetings?                                                    23      the one who called and contacted and said I need a
       24   A. I believe it was Maggie Ryneir.                               24      copy of her attendance reports for these years, so it
       25   Q. Was anyone else present during either of those                25      would have been that kind of conversation, nothing in




                                                                                                                    Pages 65 to 68
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                       PageID.5443                  Page 20 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                              Page 69                                                        Page 71
        1      depth.                                                    1      correct?
        2   Q. And not to belittle him at all, but you are saying you    2   A. No, never.
        3      don't remember one way or the other whether you talked    3   Q. You have filed other requests for investigation as to
        4      to him about this matter?                                 4      other judges, correct?
        5   A. I don't remember, but it's certainly possible.            5   A. I have.
        6   Q. You do know him, and you may have talked to him about     6   Q. Are you familiar with Judge James Kandrevas?
        7      other things, right?                                      7   A. Yes.
        8   A. Yes, oh, of course.                                       8   Q. Was he in your region?
        9   Q. Okay. Now, when you had these meetings with at least      9   A. Yes.
       10      Ms. Ryneir, did she call you and say I want to have a    10   Q. Are you familiar that there was a civil case involving
       11      meeting or did you call her to arrange a meeting?        11      Judge Kandrevas that questioned the way he handled
       12   A. She would have called me.                                12      some funds?
       13   Q. Now, after Judge James was placed on administrative      13   A. Yes.
       14      leave and before you actually submitted the grievance    14   Q. Did you file a grievance against Judge Kandrevas?
       15      in June 2011, did you have any further conversations     15              MS. MILLER: I'm going to place an
       16      with the chief justice about Judge James' matter?        16      objection and instruct her not to answer with regard
       17   A. So between April and June? I don't believe so. If I      17      to whether a grievance was filed unless it ultimately
       18      reported any progress, I would have reported it to my    18      resulted in a formal complaint, based upon the
       19      state board administrator, I would not have reported     19      agreement that we had reached during the discovery of
       20      it straight to the chief, so I doubt it.                 20      this case.
       21   Q. That would be Mr. Schmucker, correct, or did that        21              MR. HIRSCH: Well, I don't think we reached
       22      change?                                                  22      an agreement that I couldn't ask a potential grievant
       23   A. It was kind of a revolving door there for a while.       23      whether that person filed a grievance. I mean that's
       24   Q. Okay.                                                    24      not privileged. The grievant is free to disclose what
       25   A. Chad was only there for a year. So yes.                  25      they filed.


                                                              Page 70                                                        Page 72
        1   Q. Do you recall one way or another whether you had          1              MS. MILLER: Actually if you look at the
        2      conversations with your administrator between the time    2      court rules, all of the information prior to the
        3      Judge James had been placed on administrative leave       3      complaint, the grievant's name, whether the grievance
        4      but before you had filed the grievance?                   4      was filed, is confidential until there is a formal
        5   A. Yes. I'm sure I would have.                               5      complaint. That was the basis for our motion.
        6   Q. Okay. What were the nature of those discussions?          6              MR. HIRSCH: So are you directing her not
        7   A. Basically just an update, here is what is going on,       7      to answer?
        8      here is what we found, and I wouldn't normally file --    8              MS. MILLER: I am.
        9      I would never file a complaint with the JTC without       9   BY MR. HIRSCH:
       10      clearing it, running it by my state court                10   Q. Are you aware of whether there was any formal
       11      administrator first, so I would have kept him up to      11      complaint filed against Judge Kandrevas?
       12      date as to what my plans were going forward.             12   A. I don't recall one, but I don't really remember. I
       13   Q. So in order to file the grievance, you had to get the    13      don't believe there was.
       14      approval of whoever was the state court administrator    14   Q. Judge Kandrevas was not placed on administrative
       15      at that time; is that correct?                           15      leave, correct?
       16   A. Approval is kind of a strong word. I would certainly     16   A. Not to my knowledge, no.
       17      run it by them and let them know.                        17   Q. Well, he was in your region, right --
       18   Q. So it would be fair to say that the state court          18   A. Correct.
       19      administrator agreed with your filing the grievance in   19   Q. -- so you would probably know that?
       20      June of 2011?                                            20   A. I would.
       21   A. Absolutely.                                              21   Q. Judge Kandrevas is Caucasian, right?
       22   Q. Okay. And did you require the approval of the chief      22   A. Correct.
       23      justice to file the grievance?                           23   Q. Are you familiar with Judge James Byron Konschuh? I
       24   A. Not at all, no. We would never do that.                  24      may be pronouncing that incorrectly, but for our court
       25   Q. And I take it nor any of the other associate justices,   25      reporter, K-O-N-S-C-H-U-H?




                                                                                                           Pages 69 to 72
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                         PageID.5444                 Page 21 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                           Page 73                                                               Page 75
        1   A. Not in my region.                                       1   Q. Also in the 48th District Court, correct?
        2   Q. Are you familiar with him generally, though?            2   A. Right.
        3   A. Not really. I vaguely recognize the name.               3   Q. Do you recall that there was a civil case filed by a
        4   Q. Okay. Are you familiar with Judge David Stowe?          4      former clerk of the 48th District Court alleging
        5   A. Again, not in my region. I recognize the name. I        5      improper termination and defamation?
        6      think he's up north.                                    6   A. I learned of that after the fact, but yes, I do -- I
        7   Q. Okay. Are you familiar with Judge Mary Waterstone?      7      know about it just from what I read in the newspaper.
        8   A. A long time ago judge in Detroit.                       8   Q. Did this occur during the time you were regional
        9   Q. She was a judge on the Wayne County Circuit Court if    9      administrator for the region that included the 48th
       10      that refreshes your recollection.                      10      District Court?
       11   A. Vaguely.                                               11   A. Yes.
       12   Q. Do you recall that she was in your region while you    12   Q. Judge Barron is Caucasian; is that correct?
       13      were the regional administrator?                       13   A. Correct.
       14   A. Yes.                                                   14   Q. Judge Small is Caucasian; is that correct?
       15   Q. Do you recall that there were allegations against      15   A. Correct.
       16      Judge Waterstone alleging she suborned perjury?        16   Q. And again, just so the record is clear, did you file a
       17   A. I do recall that. I didn't file it.                    17      grievance against Judge Barron?
       18   Q. Judge Waterstone was Caucasian, correct?               18               MS. MILLER: Same objection, don't answer.
       19   A. I honestly don't know.                                 19   BY MR. HIRSCH:
       20   Q. And just so the record is clear -- because I know      20   Q. Did you file a grievance against Judge Small?
       21      you're going to object -- but you did not file a       21               MS. MILLER: Same objection.
       22      grievance against Judge Waterstone?                    22               MR. HIRSCH: I think we can take a short
       23              MS. MILLER: I am going to object and           23      break maybe for the restroom, and we will start a
       24      instruct you not to answer that.                       24      somewhat new topic.
       25   BY MR. HIRSCH:                                            25   A. Okay.



                                                           Page 74                                                               Page 76
        1   Q. Okay. Are you familiar with Judge Mark Somers?          1             (Recess taken at 11:00 a.m.)
        2   A. Yes.                                                    2             (Back on the record at 11:05 a.m.)
        3   Q. Was he a judge in your region?                          3   BY MR. HIRSCH:
        4   A. Yes.                                                    4   Q. Judge Washington was appointed as the acting chief
        5   Q. Do you recall that there was a jury award rendered      5      judge of the 22nd District Court, correct?
        6       against Judge Somers?                                  6   A. Correct.
        7   A. Yes.                                                    7   Q. How was Judge Washington selected?
        8   Q. You recall it was substantial, right?                   8   A. Well, I tried to put together a list of retired judges
        9   A. Yes.                                                    9      that were not so local that they would either know or
       10   Q. Judge Somers is Causation, correct?                    10      have any feelings or bias about Judge James. I had
       11   A. Correct.                                               11      worked with Judge Washington, he was with a retired
       12   Q. And again, did you file a grievance against Judge      12      judge, and he was working with the treasurer's office,
       13       Somers?                                               13      the state treasurer's office, and I had dealt with him
       14               MS. MILLER: Same objection, don't answer.     14      on a number of occasions in courts that had funding
       15   BY MR. HIRSCH:                                            15      units that had emergency management, and so it was
       16   Q. Are you familiar with Judge Mark Barron?               16      always this struggle when cities or counties -- well,
       17   A. Yes.                                                   17      it was all cities -- had emergency managers as to who
       18   Q. And Judge Barron is in your region, correct?           18      really ran the court at that moment in time, so there
       19   A. Correct.                                               19      was always this conflict, and so Judge -- Val
       20   Q. 48th District Court, right?                            20      Washington and I had worked together on more than one
       21   A. Oakland County, yes.                                   21      court and their funding unit disputes with emergency
       22   Q. Are you familiar with Judge Kimberly Small?            22      management, so I knew he had a good financial
       23   A. Yes.                                                   23      background. And so retired, didn't want to be so
       24   Q. She is also in your region, correct?                   24      local that they would have prior thoughts about Sylvia
       25   A. Correct.                                               25      James, and then Judge Washington, because of his




                                                                                                             Pages 73 to 76
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                             PageID.5445                 Page 22 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                 Page 77                                                           Page 79
        1      financial background, was sort of our go-to guy.             1      so poor. Cases were so old that sometimes they would
        2   Q. So was he the only judge that was suggested for this         2      come in and handle cases while Judge James was off
        3      position?                                                    3      going to lunch or something like that. They felt that
        4   A. He was the only one that we approached because he was        4      they were being used.
        5      our first choice, and he eventually did say yes. We          5   Q. So none of those complaints, though, whenever you may
        6      did have others on the list, and you are going to ask        6      have received them, prompted any investigation by the
        7      me who, and I don't remember.                                7      SCAO, correct?
        8   Q. So who made the decision that Judge Washington was the       8   A. Correct.
        9      first choice?                                                9              MR. HIRSCH: Can we mark this, please?
       10   A. Well, ultimately me, he was my first choice, and then       10              MARKED FOR IDENTIFICATION:
       11      I believe Chad and the chief justice agreed that he         11              DEPOSITION EXHIBIT 5
       12      was a good selection.                                       12              11:10 a.m.
       13   Q. Why would it matter if the potential judge had any          13   BY MR. HIRSCH:
       14      affiliation with Judge James?                               14   Q. Ms. Green, our court reporter has just handed you what
       15   A. There were a lot of judges in Wayne County that had a       15      we have marked as Exhibit 5. It is a letter dated
       16      very negative opinion of Judge James, and so we             16      April 15, 2011 from Mr. Schmucker to Judge Washington.
       17      didn't -- we wanted somebody to come in that had no         17      Do you have that in front of you?
       18      bias for her or against her.                                18   A. Yes.
       19   Q. But why was whether they had a bias for or against her      19   Q. It looks like you were cc-ed on this letter on the
       20      important?                                                  20      third page; is that correct?
       21   A. Because we wanted to get a clear picture and a fair         21   A. Yes.
       22      picture of what was going on in this court. We didn't       22   Q. Do you recall this letter?
       23      want to to be colored or tainted by anybody's prior         23   A. Yes.
       24      opinion of her.                                             24   Q. Did you draft this letter?
       25   Q. Because you were doing some investigation as to what        25   A. No.


                                                                 Page 78                                                           Page 80
        1      had occurred, correct?                                       1   Q. Do you know who did?
        2   A. Yeah.                                                        2   A. No.
        3   Q. And you said that a lot of judges in Wayne County had        3   Q. Do you see starting on page 2 and going over to page 3
        4      a poor opinion of Judge James; is that correct?              4      there is a listing of seven points that says we would
        5   A. Yes.                                                         5      like you to investigate and resolve, do you see that?
        6   Q. How did you know that?                                       6   A. Yes.
        7   A. They told me.                                                7   Q. Do you know who prepared that list of seven points?
        8   Q. When did you have occasion to discuss opinions of            8   A. Well, it's probably based on some of my information,
        9      Judge James with judges in Wayne County?                     9      but I'm assuming whoever wrote this letter, Chad or I
       10   A. Meetings, conferences, you name it.                         10      don't know.
       11   Q. And it just came up?                                        11   Q. And you would agree with me that this letter is asking
       12   A. Sometimes.                                                  12      Judge Washington to conduct some investigation, right?
       13   Q. And this was before she was placed on administrative        13   A. Yes.
       14      leave; is that correct?                                     14   Q. And some of the items are requesting Judge Washington
       15   A. Yes.                                                        15      to locate documents, correct, for example, item 2?
       16   Q. Because you knew this when you were considering             16   A. Yes.
       17      selecting a judge to become acting chief judge?             17   Q. And also item 4 is asking Judge Washington to attempt
       18   A. Yes. I had difficulty getting judges that would go in       18      to locate records about a National Drug Court
       19      there as a visiting judge because they had had prior        19      Conference, do you see that?
       20      contact with Judge James and didn't want anything to        20   A. Yes.
       21      do with it.                                                 21   Q. And that was an issue in fact that you had raised in
       22   Q. So what sorts of complaints were raised about Judge         22      your June 2011 grievance, correct?
       23      James?                                                      23   A. Yes.
       24   A. That she ran a terrible caseload, that judges didn't        24   Q. Now, at this point in April 2015, you indicated you
       25      want to touch the cases because the documentation was       25      had not spoken to anyone at the JTC, correct?




                                                                                                                  Pages 77 to 80
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                        PageID.5446                   Page 23 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                             Page 81                                                            Page 83
        1   A. Correct.                                                  1      James' counsel after she was placed on leave?
        2   Q. Do you know whether Mr. Schmucker had spoken to anyone    2   A. I believe it was in a meeting -- it wasn't just with
        3      at the JTC?                                               3      Sharon McPhail, I believe it was at a meeting with her
        4   A. I would not know that.                                    4      and the judge and Chad and me.
        5   Q. So as far as far as you know this investigation was       5   Q. And do you recall that you and Mr. Schmucker agreed
        6      being conducted for the SCAO, correct?                    6      that you would not invade Judge James' safe without
        7   A. Yes.                                                      7      her being there?
        8   Q. Do you know whether Judge Washington found the 1099s      8   A. I remember talking about her personal privacy. She
        9      referenced in item number 2?                              9      was worried about her desk and her credenza, and she
       10   A. I don't know for specific, no.                           10      may have mentioned a safe, I don't remember a safe,
       11   Q. So you don't recall whether those were provided to the   11      but it was her stuff.
       12      SCAO?                                                    12   Q. Do you recall this question and answer during your
       13   A. I know we have some 1099s. I don't know like this        13      January 24, 2012 testimony at the JTC proceeding, the
       14      says, you know, missing -- I don't know if these are     14      question: At that time that you and Mr. Schmucker
       15      exactly what Chad was asking for.                        15      indicated to me -- and that's Sharon McPhail I believe
       16   Q. Okay. Item number 4, talking about records related to    16      asking these questions -- that you would not invade
       17      National Drug Conference in Boston in 2010, do you see   17      the judge's personal safe without her being there?
       18      that?                                                    18      Answer: Correct.
       19   A. Yes.                                                     19   A. Okay.
       20   Q. Do you know if Judge Washington provided you with any    20   Q. That would be accurate, correct?
       21      records -- provided the SCAO with any records related    21   A. Yes.
       22      to that?                                                 22   Q. And did you at any time enter Judge James' office
       23   A. I have seen some of the check requests stuff, so I       23      after she was placed on leave?
       24      believe that was in response to that.                    24   A. Yes.
       25   Q. Judge James of course had an office at the 22nd          25   Q. And you did that with Judge Washington, correct?


                                                             Page 82                                                            Page 84
        1      District Court, correct?                                  1   A. Correct.
        2   A. Yes.                                                      2   Q. Was that on April 14th, 2011?
        3   Q. Do you know whether that office was locked when Judge     3   A. I can't say that's the only time I have ever been in
        4      James was placed on administrative leave?                 4      her office.
        5   A. That day, I don't remember.                               5   Q. Fair to say that would be the first time after she was
        6   Q. Do you know who had keys to her office?                   6      placed on leave that you were in her office?
        7   A. No.                                                       7   A. Well, I was there when -- on day one -- is that the
        8   Q. So I take it you don't know how Judge Washington got      8      day she was placed on leave?
        9      keys to her office, correct?                              9   Q. Well, I think we have determined it was either the
       10   A. I don't remember.                                        10      13th or it could have been the 14th, but yes.
       11   Q. Okay. You have been to the 22nd District Court,          11   A. Then yes, sorry. Yes, that's the date.
       12      correct?                                                 12   Q. Okay. So on that date, whether it was the 13th or the
       13   A. Many times.                                              13      14th, but that first time at Judge James' office, what
       14   Q. You have seen that office, correct?                      14      did you do?
       15   A. A couple of times.                                       15   A. I basically showed Judge Washington in, and I don't
       16   Q. There was a safe located in Judge James' office; is      16      know what happened after that, but I was basically
       17      that correct?                                            17      just sort of the escort.
       18   A. Well, I know that now, but I didn't know that then.      18   Q. Okay. And you told me that you did not notice a safe
       19   Q. So you didn't personally observe the safe at any time?   19      at that time or any time you were there, correct?
       20   A. No.                                                      20   A. Correct.
       21   Q. Okay. So you don't know whether the safe was locked      21   Q. Okay. You did not have any trouble opening the door
       22      at the time Judge James was placed on leave?             22      to her office, I assume?
       23   A. No.                                                      23   A. I don't remember any trouble.
       24   Q. Do you recall that you had a discussion about            24   Q. Okay.
       25      accessing Judge James' office and safe with Judge        25   A. I don't know how we got in, but we were in.




                                                                                                             Pages 81 to 84
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                               PageID.5447                    Page 24 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                                   Page 85                                                               Page 87
        1   Q. You do recall that subsequently Judge James mentioned          1       just want to be clear.
        2       that she thought someone had tampered with her safe,          2   A. April 14th is when we put her on admin leave, right?
        3       correct?                                                      3   Q. 13th or 14th, I think.
        4   A. Yes.                                                           4   A. And then sometime after that Sharon McPhail, Sylvia
        5   Q. Do you recall that you met with Judge James and some           5      James, Chad Schmucker are in my office, and that's
        6       of her attorneys, Mr. Thomas and Ms. McPhail on July          6      where they were very concerned about her personal
        7       14, 2011?                                                     7      belongings, and I made her assurances that that's not
        8   A. Boy, I don't remember that.                                    8      what we were interested in. We would not mess with
        9   Q. Let me see if I can refresh your recollection again            9      her personal stuff, so I don't remember what date that
       10       from your testimony on January 24th, 2012. Question:         10      was.
       11       You were present on July 14, 2011 when Mr. Thomas and        11   Q. Okay. You did not have any meetings with the
       12       I -- and again I believe this is Ms. McPhail asking          12       employees of the 22nd District Court after Judge James
       13       the questions -- and Judge James were allowed the one        13       was placed on leave, correct?
       14       hour to come in and pick up whatever documents we            14   A. No.
       15       could get? Answer: Yes. Does refresh your                    15   Q. You did, however, speak with Pamela Anderson, correct?
       16       recollection?                                                16   A. Yes.
       17   A. Yes, yes. It wasn't a meeting. He were there at our           17   Q. And again, Ms. Anderson was the court administrator,
       18       court for her to gather her personal belongings.             18       right?
       19   Q. And you recall she was allowed one hour to do that?           19   A. Correct.
       20   A. Yes.                                                          20   Q. And she continued as court administrator when Judge
       21   Q. Do you remember why there was a one hour limit?               21       Washington became acting chief judge, correct?
       22   A. Again, concerns about tampering and basically just            22   A. Yes.
       23       felt if she needed to get personal belongings, that          23   Q. How many conversations did you have with Ms. Anderson?
       24       was enough time.                                             24   A. I don't remember exactly. Not many.
       25   Q. Do you know who set that limit?                               25   Q. Do you recall the nature of the conversations with Ms.


                                                                   Page 86                                                               Page 88
        1   A. No.                                                            1      Anderson?
        2   Q. Was it you?                                                    2   A. Typically it was to ask for follow-up information.
        3   A. It might have been. I don't know. I can't remember.            3   Q. And that would be follow-up information in connection
        4   Q. You were physically there that day, right?                     4      with your preparation of the grievance between April
        5   A. Yes, I was.                                                    5      and June 2011; is that right?
        6   Q. So you could have observed if there was any tampering          6   A. Yes, or to assist Judge Washington in effectuating
        7      or anything else going on, right?                              7      some of the changes that he wanted to make.
        8   A. Yes.                                                           8   Q. Well, Judge Washington was actually at the court,
        9   Q. And again, you did not notice the safe on that day             9      right?
       10      either, right?                                                10   A. Correct.
       11   A. I never saw it.                                               11   Q. And he had authority to direct Ms. Anderson, right?
       12   Q. You did tell Judge Washington that no one was supposed        12   A. Right.
       13      to go into Judge James' personal safe, correct?               13   Q. Okay. Did you ever make any offer to Ms. Anderson
       14   A. I don't know that I said personal safe. He and I              14      that if she cooperated in the investigation of Judge
       15      discussed the fact that her personal belongings were          15      James, she would be given immunity?
       16      going to be left alone, and he and I agreed we                16   A. No. I would have no authority to do that.
       17      didn't -- that wasn't why we were there. We didn't            17   Q. Did you ever indicate to Ms. Anderson that if she
       18      care.                                                         18      cooperated, you would not pursue a bar complaint
       19   Q. Do you recall when you told Judge Washington that?            19      against her?
       20   A. Whatever date that meeting was with Sharon McPhail and        20   A. I know she was worried about what had happened at the
       21      Sylvia and Chad, it would have either been -- I don't         21      court and her involvement and all of that and was very
       22      think it was later that day. I think it would have            22      concerned about her bar card. Would I have told her I
       23      been the next day.                                            23      wouldn't file an AGC complaint? I may have, but I
       24   Q. So that was the meeting that took place in April,             24      don't remember that.
       25      right? We are not talking about the July meeting. I           25   Q. You didn't file a bar complaint against Ms. Anderson,




                                                                                                                     Pages 85 to 88
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                         PageID.5448             Page 25 of
                                     49
      DEBORAH LYNN EVANS GREEN
      August 11, 2017

                                                             Page 89                                                      Page 91
        1      correct?                                                  1               CERTIFICATE OF NOTARY
        2   A. Correct.                                                  2   STATE OF MICHIGAN )
        3   Q. Were you present for Ms. Anderson's testimony at the      3                ) SS
        4      JTC hearing?                                              4   COUNTY OF WAYNE )
        5   A. No.                                                       5
        6   Q. Did you ever review a transcript of Ms. Anderson's        6             I, SHARON CAMPBELL, certify that this
        7      testimony from the JTC hearing?                           7     deposition was taken before me on the date
        8   A. No.                                                       8     hereinbefore set forth; that the foregoing questions
        9   Q. What did you do to prepare for this deposition?           9     and answers were recorded by me stenographically and
       10   A. She sent me my testimony from the JTC trial. I read      10     reduced to computer transcription; that this is a
       11      it.                                                      11     true, full and correct transcript of my stenographic
       12   Q. So you did review your own transcript testimony from     12     notes so taken; and that I am not related to, nor of
       13      the JTC hearing?                                         13     counsel to, either party nor interested in the event
       14   A. I did.                                                   14     of this cause.
       15   Q. Other than conversations you may have had with           15
       16      counsel, have you had any other conversations about      16
       17      this matter that we didn't discuss today?                17
       18   A. No.                                                      18
       19               MR. HIRSCH: Okay. If I could take one           19
       20      moment to look through my list, but I think I'm          20
       21      probably done.                                           21
       22               (Off the record at 11:26 a.m.)                  22                 SHARON CAMPBELL, CSR-3406
       23               (Back on the record at 11:27 a.m.)              23                 Notary Public,
       24               MR. HIRSCH: Thank you, Ms. Green, I have        24                 Wayne County, Michigan
       25      nothing further.                                         25     My Commission expires: June 9, 2019


                                                             Page 90
        1                 MS. MILLER: I have no questions for you.
        2                 MR. RATLIFF: No questions.
        3                 MR. ASHER: No questions.
        4                 (The deposition was concluded at 11:27 a.m.
        5            Signature of the witness was not requested by
        6            counsel for the respective parties hereto.)
        7
        8
        9
       10
       11
       12
       13
       14
       15
       16
       17
       18
       19
       20
       21
       22
       23
       24
       25




                                                                                                         Pages 89 to 91
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18               PageID.5449      Page 26 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                       Page 92

             A            23:14 24:10,15      58:18 73:8        71:16 72:7          22:6,10 24:4
     a.m 1:17 5:3         24:25 25:1,8      agree 17:22 36:4    73:24 74:14         25:14 31:11,22
       16:24 56:5         26:7,10,16,22       49:12 64:25       75:18 83:12,18      32:18 33:10,16
       58:21 63:21        27:1,4,10,14        80:11             85:15               45:6,10,13,19
       76:1,2 79:12       27:18 28:16       agreed 27:19       Answering 67:7       47:17 49:2
       89:22,23 90:4      30:19 31:9,19       55:5 70:19       answers 5:18         52:6 53:5,15
     ABA 8:2              31:21 32:3,14       77:11 83:5        91:9                54:2 55:6
     ability 13:14        32:18 33:1,14       86:16            antitrust 10:21      69:17 79:16
     absence 23:23        33:17,20 34:25    agreement          anybody 61:25        80:24 84:2
     Absolutely           35:20 36:19         71:19,22          62:7                86:24 87:2
       30:13 70:21        45:6,20 47:2,5    ahead 8:7          anybody's 77:23      88:4
     access 49:2 52:6     47:24 50:12       al 1:10            anymore 9:19       aratliff@wnj....
     accessing 82:25      51:7,10,16        allegations        anyway 59:25         3:15
     account 30:8,10      60:6 64:15          65:15 73:15      apologize 29:19    area 11:19 12:6
       30:22 34:3         69:13 70:3        alleging 73:16      42:18 48:15         12:8
       35:7 37:3,8        72:14 78:13         75:4              61:17             areas 30:5
     accurate 18:8        82:4              Allen 9:22,25      apparently 44:6    arrange 69:11
       39:23,23 40:2    administrator         12:3             appear 33:4,9      ASHER 3:1
       59:13 66:16,20     9:25 10:2         allowed 85:13       49:14               90:3
       68:2 83:20         12:11,17 13:2       85:19            APPEARAN...        asked 40:4
     achieved 13:16       13:6,10,24        allowing 65:5       2:1                 67:10
     Act 59:11            18:23 23:19       amended 51:9       appeared 56:19     asking 5:17
     acting 13:11         24:10 32:12       American 8:13      Appearing 2:10       80:11,17 81:15
       26:14 27:3,13      41:14 48:14,15      18:19             2:18 3:8,16         83:16 85:12
       76:4 78:17         52:23,25 60:16    amount 44:17       appears 46:8       aspect 12:2 27:1
       87:21              60:25 61:11,15      44:25             49:21,22 51:16      27:10
     action 19:10         61:16,18,20,21    Anderson 3:8        52:15 58:24       assemble 25:6
       21:24 23:7         62:2,12 69:19       36:24 37:24       63:25             assignment 41:8
     actively 25:19       70:2,11,14,19       40:22 48:12      appoint 21:5         41:21,22,24
     activity 54:6        73:13 75:9          49:23 61:12       23:20 24:11         46:6
     actual 19:21         87:17,20            62:1 64:9         32:21             assignments
       40:4             Administrator's       87:15,17,23      appointed 25:2       42:6,11,11,14
     ADAM 3:10            9:4 12:25           88:1,11,13,17     26:6,9,10 76:4      42:21
     add 25:13            13:22 14:16         88:25            appointment        assist 42:1,6,8
     addressed 64:17    admitted 7:16       Anderson's 89:3     32:23 49:7          42:10,13,14,15
     admin 87:2           7:18,20             89:6             approached           42:21 43:18,20
     administer 14:2    advance 54:21       annual 38:11        77:4                44:20 88:6
     administrative     advised 59:10         41:15,18 43:12   approval 65:7      associate 7:21
       10:4 13:13       affiliation 77:14     43:15 44:5,10     70:14,16,22         10:14,18 11:25
       19:6,10,14,23    African 18:19         44:15 46:21      approved 51:19       20:3,14 70:25
       20:8,11,25       AGC 88:23           anonymous           51:23             Association 8:14
       21:3,4,10,17     Age 48:18             56:15,15 57:4    approximately      associations 8:1
       21:19,21 22:6    agenda 19:20        answer 5:21,22      9:14              assume 12:20
       22:7,24 23:11    ago 7:19,22 8:4       6:3,8,9 16:4     April 19:3 21:18     25:25 84:22
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18             PageID.5450      Page 27 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                     Page 93

     assuming 80:9     back 9:17 10:25      62:21 63:2        85:8              caseload 25:3
     assurances 87:7    25:12 59:9          65:24 66:4,24    break 6:11,13        27:2,6,20
     attached 4:12      76:2 89:23          68:5 69:17        75:23               78:24
       29:9 67:14,15   back-up 29:9         72:13 77:11      BRETT 3:1          cases 10:22 23:4
       67:17           background           81:24 83:2,3     briefly 68:5         26:11,20 27:11
     attaching 36:9     67:8,11 76:23       83:15 85:12      bring 23:3,4,21      27:15 43:9
       39:1,6,8 54:9    77:1              believed 23:25      24:22               78:25 79:1,2
     attempt 80:17     backup 31:5        belittle 68:21     brought 24:18      Caucasian
     attempting        banc 19:16,22        69:2              27:21,25 28:1       72:21 73:18
       59:17           Bank 30:7          bell 57:21 58:14   budget 13:10,19      75:12,14
     attendance        banking 10:22        58:15             47:10 59:19       Causation 74:10
       44:13 45:21     bar 7:11 8:13,16   belongings          60:2,8            cause 91:14
       55:4,14,17       88:18,22,25         85:18,23 86:15   bunch 29:12        caused 19:9
       68:24           Barron 74:16,18      87:7             Burley 11:13,15      56:18
     attended 6:19      75:12,17          bench 44:18,25     business 10:20     cc-ed 79:19
       7:3             bars 7:13          benefits 13:10      13:8,18 27:17     center 40:11
     attention 16:6    Barton 11:13,16    best 18:7           27:22,24 60:1     certain 29:3
       16:11 18:6      based 71:18        better 11:17       businesses 11:18     54:10
     attorney 2:13      80:8              beyond 67:14,14     12:8              certainly 13:3
       9:22 12:3,9     basher@mike...     bias 76:10 77:18   Byron 72:23          18:8 24:1,23
       57:23 58:1       3:7                 77:19                                 35:2 52:5
       67:4 68:17      basic 34:9         bigger 55:18               C            54:15 57:10
     attorneys 5:11    basically 13:11    biggest 16:12      C 31:11              63:11 69:5
       85:6             20:23 22:12       bills 59:20,22     calculations         70:16
     audit 25:11,25     23:23 25:4          60:4 62:17,17      47:14            CERTIFICA...
       28:6,8,12        42:7 70:7           62:24 63:1       calendar 46:17       91:1
       56:19,21 58:8    84:15,16 85:22    Birmingham           48:21 61:7       certification
     audited 56:16     basis 46:21 72:5     2:7              call 29:2 30:11      8:10
     auditing 64:15    Bates 40:11 46:1   birth 6:17           46:1 69:10,11    certified 8:4,9
     auditor 23:24      49:13 50:14       bit 9:16 47:4,13   called 5:6 24:25   certify 91:6
       24:21 25:22      53:8,17             58:16              26:14 34:12      Chad 32:10,15
     August 1:18 5:2   beginning 10:9     black 40:15          57:4 68:23         32:24 69:25
     authority 13:11   behalf 2:10,18     board 69:19          69:12              77:11 80:9
       13:13 23:19      3:8,16            Borman 1:8         Campbell 1:19        81:15 83:4
       88:11,16        believe 7:20       born 9:15 10:17      91:6,22            86:21 87:5
     Avenue 2:5         19:3 20:13          10:24 11:3,4     Canfield 7:20      change 15:7,17
     award 74:5         21:13,24 26:14    boss 53:3            9:13 10:6,19       15:23 16:2
     aware 15:7         27:5 30:9 32:9    Boston 81:17       card 88:22           33:19 69:22
       56:17 57:3       32:13,14 33:8     bottom 53:9        care 86:18         changed 15:5,21
       72:10            34:7,12 35:3        60:23            Carl 61:2,13       changes 88:7
     awhile 26:17       36:11,20 37:24    Boulevard 1:15     Cas 68:14,21       Charlene 25:11
                        40:3 46:20        Bowdich 50:25      case 1:7 7:22        28:10 29:18
            B           52:4 54:16,18     box 2:14 40:15       13:19 38:20        31:2 34:7
     B 30:21            58:12 62:1,15     Boy 57:21 68:21      48:18 62:19        36:24 40:23
     BA 7:1                                                    71:10,20 75:3
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18               PageID.5451     Page 28 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                      Page 94

       62:9                33:13 40:7         25:7,15 66:11    considering        17:9 18:12,14
     Charlene's 28:8       67:18 73:20        68:3 70:9          78:16            18:17,20 20:8
     check 30:21           75:16 77:21        71:18 72:3,5     contact 66:7       21:8,22,23
       34:10,10 35:22      87:1               72:11 88:18,23     78:20            24:7,13 25:20
       36:3,8 37:3       clearing 70:10       88:25            contacted 68:23    25:21,23,24,25
       54:6 81:23        clearly 57:8       complaints         contemporane...    26:8,17 27:8,9
     checks 35:7 36:3    clerk 48:12 75:4     78:22 79:5         21:25            27:11 28:10,11
       36:8 54:6,10      clerked 10:10      completed 6:8      CONTENTS           28:23,25 29:1
       54:12             clients 12:7       comply 63:7          4:1              29:3,4,8,10,17
     chief 13:11,12      close 22:2         computer 91:10     continue 24:14     29:20,21,23
       19:25 20:7,17     coincidence        concern 22:8,17      24:17            30:8,17 31:6
       20:21 21:5          15:20              22:18,20,21      continued 87:20    31:12,16,17
       22:20 23:3,5      College 9:17         30:5 44:13       continuing         32:3 33:11,12
       24:24 25:2        colored 77:23        45:2,12 55:5       25:25 28:12      34:20 35:5,16
       26:9,12,14        come 21:5,23         55:19,19 62:15   control 14:18      35:17,21 36:1
       27:4,7,14,25        25:2 37:1        concerned 23:8     conversation       38:4,10,24
       28:2,9 31:15        42:25 43:8         30:10 44:3         32:6 68:19,25    39:19,20,24,25
       32:12,13,22         48:5 56:16         87:6 88:22       conversations      41:1,3,9,10,20
       33:25 38:17,19      77:17 79:2       concerns 19:9        58:5,11 67:25    41:21,24 43:17
       38:19 60:16,21      85:14              19:11 23:10        69:15 70:2       43:18,19,24
       69:16,20 70:22    comes 38:17          24:15,22 30:16     87:23,25 89:15   44:11 45:17,18
       76:4 77:11        coming 27:1          36:12 44:24        89:16            47:5,6,25 48:9
       78:17 87:21         42:7 65:2          45:19 54:10,25   conversely         48:13,23 49:2
     child 9:15          Commencing           59:16 85:22        43:20            49:10,15,18
     choice 10:21          1:17             concluded 90:4     cooperated         50:10 51:1,2
       77:5,9,10         comments 66:8      conclusion           88:14,18         51:17,18,20,21
     choose 19:9         Commission           64:22,25         copied 29:20       52:6 53:16
     Cincinnati 7:21       17:23 91:25      conduct 80:12        60:23 64:7,9     54:21 55:6,9
     circuit 7:21 16:7   commission's       conducted 81:6     copies 39:4        55:12,21,24
       73:9                18:6 68:17       conference         copy 56:21         57:2,6,7,8,9,11
     cities 76:16,17     communicate          31:21,23 32:3      68:24            57:12,15 59:7
     city 9:22,22 12:3     29:5 65:16         80:19 81:17      core 65:11         59:11,12,14
       12:8,9 37:4,9     communicatio...    conferences        correct 6:20,21    60:7,24 61:23
       37:11 47:11         66:6               78:10              7:2,3,4,5,6,9    61:24 62:4,5
       56:22 57:24       Community          confidential         7:10 8:11,12     63:6,13,15
       58:4 59:16,19       30:7,10,16         72:4               8:17,20,23,24    64:2,3,12,22
       62:19 65:5,7        34:3 35:7        confirmed 56:20      8:25 9:1,5,6     65:8 66:11,16
     city's 65:15          55:20,24 56:13   conflict 76:19       10:7,25 11:8     67:20 69:21
     civil 5:14 71:10    compare 45:24      confused 43:12       11:11 12:1,3,4   70:15 71:1,4
       75:3              comparing 44:4     connection           12:11,12,17,18   72:15,18,22
     claiming 59:23      compilation          45:20 88:3         12:21,25 13:1    73:18 74:10,11
     Clair 14:13           49:7 54:5        consecutively        13:22,23,25      74:18,19,24,25
     clarify 5:25        compile 28:19        49:22              14:1,3 15:3,6    75:1,12,13,14
     clear 24:6 26:5     complaint 24:3     considered 68:4      16:12,19 17:8    75:15 76:5,6
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18               PageID.5452      Page 29 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                       Page 95

       78:1,4,14 79:7      34:3 35:7          91:22              21:12 23:10,13   directing 72:6
       79:8,20 80:15       36:23 37:1,9     cursory 33:8         24:9 77:8        direction 23:21
       80:22,25 81:1       37:21,22 38:15                      defamation 75:5      27:23
       81:6 82:1,9,12      38:17,18,21              D          Defendant 2:18     directive 28:5
       82:14,17 83:18      39:15,16 40:5    D 1:8 33:9 52:18     3:8,16           directives 28:5
       83:20,25 84:1       40:21,24 41:2    daily 25:16        Defendants 1:11    directly 32:8
       84:19,20 85:3       41:14,20 42:8    Darnell 56:20      definitely 40:8      54:17 56:17
       86:13 87:13,15      43:6,7 44:6       56:21             defunct 10:21      disbursement
       87:19,21 88:10      46:20,25 48:5    dash 51:10         degree 6:24 7:7      34:4,13
       89:1,2 91:11        48:13,14,15      date 6:17 17:18      10:8             discipline 7:24
     council 65:2          49:8 51:17        17:18 18:8        delegate 13:15     disclose 71:24
     counsel 83:1          52:23 54:18       19:4 24:4 35:3    delivered 33:15    discovered 29:3
       89:16 90:6          56:7,21 58:23     35:15 43:15       deposition 1:14    discovery 71:19
       91:13               59:17,17,20,24    47:17,17 50:1       4:14,15,16,17    discrepancies
     counties 14:7,22      59:25 60:2,8      51:3 70:12          4:18 5:13          40:8
       14:23 76:16         60:16,25 61:11    84:11,12 86:20      16:23 17:2       discrepancy
     county 15:8,15        61:15,16,18,20    87:9 91:7           56:4,8 58:20       39:15
       15:19 16:3,6        61:21 62:2,16    dated 17:10,14       58:24 63:20,24   discretion 29:7
       16:10,12,12         62:20,24,25       33:15 46:8,8,9      79:11 89:9       discuss 60:17
       26:11 50:15,21      63:23 64:14       52:15 53:7,21       90:4 91:7          78:8 89:17
       73:9 74:21          65:6,12,16        56:9 64:3         depth 69:1         discussed 86:15
       77:15 78:3,9        70:10,14,18       79:15             description 54:7   discusses 60:8
       91:4,24             72:2,24 73:9     dates 17:16 41:4   desk 83:9          discussing 64:18
     couple 28:5           74:20 75:1,4      43:11             details 58:13      discussion 19:21
       82:15               75:10 76:5,18    daughter 11:4      determine 62:11      19:22 20:15,17
     course 23:6 66:3      76:21 77:22      David 57:20,23     determined           20:20 67:5
       69:8 81:25          79:14 80:18       58:25 64:19         64:21 65:11,15     82:24
     courses 11:6          82:1,11 85:18     73:4                84:9             discussions
     court 1:1 6:4 8:5     87:12,17,20      day 19:14 20:22    Detroit 1:16 5:1     19:25 20:3,6
       8:9,25 9:4,24       88:8,21           21:18,19,20,24      14:19 73:8         20:10 32:2,16
       9:25 10:1,2,4     court's 59:20       21:24 41:23       difference 17:16     32:20 70:6
       12:10,11,16,17      64:17             82:5 84:7,8       differences 13:3   disease 9:8
       12:25 13:2,4,4    courts 7:16 13:7    86:4,9,22,23      different 13:17    disparity 39:10
       13:6,9,10,13        16:9 54:16       day-to-day 43:4      34:9 35:24       dispute 65:12
       13:14,18,21         59:10 63:2       days 44:6,15,20      38:5 42:10       disputes 76:21
       14:16,19,20         76:14             44:21 68:12         54:14            disqualified
       16:7,16 17:1      Cover 46:16        deal 16:1          differentiates       42:12
       18:4,24 19:8      covering 15:19     dealt 76:13          42:10            district 1:1,2
       19:12 20:24       Cox 3:2            Deborah 1:14       difficulty 78:18     9:25 10:2
       21:6 23:5,9,17    created 34:7        4:4 5:5,13 6:16   direct 16:6          12:11,17 13:4
       23:20,22 24:9       37:25            December 46:9        23:17 26:2         13:4,7 14:19
       24:20 25:2        credenza 83:9       49:14               88:11              16:7 34:3 35:7
       27:9,17,18        criminal 9:24      decision 15:22     directed 24:8        37:9 38:15
       32:11,22,25       CSR-3406 1:19       19:5,7,7 20:23      31:15              41:2,19 48:13
                                             20:24 21:2,7
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18            PageID.5453      Page 30 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                    Page 96

       49:8 51:17       draft 79:24      et 1:10              22:20,21 30:15 file 18:1 25:15
       54:24 61:20,21   drafted 17:19    Evans 1:14 4:4       45:12              25:15 53:12
       62:2 74:20       Drive 3:3          5:5 6:16                              63:14,17 65:25
       75:1,4,10 76:5   Drug 80:18       event 91:13                 F           70:8,9,13,23
       82:1,11 87:12     81:17           events 15:22       F 35:6               71:14 73:17,21
     division 1:3       duly 5:7         eventually 77:5    facilities 13:20     74:12 75:16,20
       10:20 64:15      duties 13:6      evidence 22:9,13   fact 55:23 56:18     88:23,25
     divvied 14:24       26:10,16          22:15,18           59:16 61:3      filed 17:7 22:5
     docket 19:23                        evolved 25:12        62:16 63:14        26:23 27:4
       20:8,12,25               E        exact 13:16          65:11 75:6         28:17 57:8
       21:3,17 26:15    E 34:2           exactly 15:14        80:21 86:15        66:5 70:4 71:3
       31:19 42:1,7,8   e-course 11:8      37:20 38:22      facts 18:11          71:17,23,25
       42:11,13,14,15   e-mail 29:4        46:25 48:6       fair 16:14 24:16     72:4,11 75:3
       42:21,24 43:1    earlier 35:2       61:8 81:15         30:2 51:6 53:4 files 38:17 53:24
       43:18,21 44:21     57:13            87:24              53:14 54:1,7    filing 63:12 66:2
       45:20 46:21      early 61:8,9     EXAMINATI...         54:19 56:25        70:19
     document 17:5      EASTERN 1:2        4:6 5:15           62:11,13 70:18 finally 25:18
       31:2 34:2,6,15   eat 42:24        examined 5:9         77:21 84:5      financial 23:6,8
       34:21 35:11,18   echelon 68:22    examiner's         fairly 62:24         76:22 77:1
       37:3 38:13,15    effectuating       66:19            fallow 43:7       findings 28:6
       39:19,22 44:22     88:6           example 8:2,14     Falzone 11:13     finish 6:2,9
       45:25 46:19,20   either 36:23,24    29:13 37:2       familiar 16:19    firm 3:2 9:18
       46:24 47:1,10      66:25 76:9       40:9,17 41:7       30:1 71:6,10       11:11
       47:23 48:2,4       84:9 86:10,21    43:12,15,20        72:23 73:2,4,7 first 5:7 9:15
       48:17,24 49:1      91:13            55:4 80:15         74:1,16,22         17:20 26:5
       49:20,21 50:20   emergency        excessive 44:17    far 41:2 44:6        34:9 37:2,14
       52:8 53:4,7,11     76:15,17,21      44:25              81:5,5             37:16,18 39:3
       53:14,17,23      employed 14:16 exhibit 4:11,14      fax 49:21,22,23      39:9,19,22
       54:1,15 65:23    employee 41:19     4:15,16,17,18      50:3               41:15 43:15,21
     documentation      employees 87:12    16:23 17:2       Federal 5:14         44:5 46:15
       40:5 78:25       employment         29:13 39:14        7:16               49:12 50:1
     documents            9:11 10:24       56:4,8 57:13     feedback 28:17       62:22 64:25
       36:18,21 39:14   en 19:15,22        58:20,24 63:20   feelings 76:10       70:11 77:5,9
       49:7,13 54:5,9   ended 26:19        63:24 66:1       feet 24:19           77:10 84:5,13
       54:13 55:13        28:20 54:20      79:11,15         felt 14:20 16:5,7 fiscal 61:7
       67:8,13 80:15    enter 83:22      exhibits 4:9,12      16:10,14 18:5 Fischer 3:16
       85:14            entered 21:22      29:12              22:14 25:17,18     17:23 67:2,18
     doing 8:25 77:25   entire 6:2 14:15 exist 9:18           32:21 56:19        67:25
     door 69:23         entitled 34:2    existing 45:2,5      79:3 85:23      five 10:3 12:19
       84:21              35:6 37:18     expenses 34:12     Ferry 52:18,20       12:23 14:25
     doubt 69:20          48:18            36:13              53:8,20            51:9
     downriver 9:18     escort 84:17     expires 91:25      field 10:21       fix 28:3
       11:19            especially 43:5  Explain 42:18      fifth 14:24       fixing 28:3
     downtown 14:19     essence 63:3     expressed 22:18    figure 40:2       Flint 16:8
                        Estate 50:15                          46:12
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18               PageID.5454    Page 31 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                     Page 97

     flip 48:17            55:21,24 56:13     70:7,12 71:15     25:17            68:6,8 89:4,7
     Floor 1:15          funding 62:19        73:21,23 77:6    guess 17:19       89:13
     flow 13:19            65:12 76:14,21     77:22 79:3        29:14 37:15    Hearn 41:11
     focus 24:5 27:17    funds 64:18          80:3 86:7,16      47:16 51:11    help 28:4 42:20
        27:22 37:16        71:12            good 5:10 10:21     60:25 68:1,2     42:25 43:10
     focussing 33:7      further 40:1         76:22 77:12      guy 68:22 77:1    58:16
       65:25               55:9 56:23       goodness 6:23                      helps 31:24
     follow 28:12          57:1 64:21         14:11                    H       Henry 9:16
     follow-up 88:2,3      69:15 89:25      Google 50:21       H 37:12 39:22     10:25
     followed 24:21      future 60:17       gotten 55:13       half 10:11      hereinbefore
       40:7                                   56:15            HAMPTON           91:8
     following 12:16            G           graduated 6:23      1:10           hereto 90:6
       12:20 26:1        G 36:2               9:12 10:13       handed 17:1     HILLIARD
     follows 5:9         gather 22:12       Grand 1:15 3:13     56:7 58:23       1:10
     fondly 66:13          85:18            Green 1:14 2:19     63:23 79:14    hired 10:12
     Ford 9:16 10:25     general 2:13         4:4 5:5,13,17    handle 23:4,5   Hirsch 2:3 4:7
     foregoing 91:8        11:17 44:12        6:16 17:1         27:2,14,15,20    5:10,11,16
     forget 26:24          58:8,10            79:14 89:24       60:8 79:2        14:14 16:21,25
     forgot 9:18         generally 13:5,8   grievance 17:7     handled 27:10     56:2,6 58:9,17
     formal 66:10          36:4 73:2          22:4 23:15        71:11            58:22 63:18,22
        68:8 71:18       generated 51:6       25:6 26:23       handling 26:15    71:21 72:6,9
        72:4,10          Genesee 14:8         28:17,20 29:9     26:16,25 64:17   73:25 74:15
     format 38:5           16:8               29:14 36:10      hands 23:23       75:19,22 76:3
     former 41:14        gentleman            54:20,21 55:20   handwriting       79:9,13 89:19
        52:23 75:4         68:14              57:8,13 63:12     51:11            89:24
     forth 91:8          Gerry 41:11          63:14,17 65:25   happen 15:10    history 6:25 7:1
     forward 9:12        getting 78:18        66:2,5 67:15      22:23 68:7       9:11
        23:12,15 62:18   give 9:11 27:23      69:14 70:4,13    happened 15:12 holder 37:8
        70:12              28:17              70:19,23 71:14    65:9 67:23     holding 62:21
     forwarding 63:4     given 16:7 57:4      71:17,23 72:3     84:16 88:20    home 9:9,10,15
     found 23:24           88:15              73:22 74:12      happens 38:20   Hon 1:8
        25:3 70:8 81:8   gives 47:17          75:17,20 80:22   happy 65:21     honestly 58:12
     four 14:4,23        giving 19:20         88:4             hard 47:20        73:19
     free 71:24          go 8:7 10:5        grievances          51:11          hope 11:20 65:4
     Freedom 59:6          23:14 25:9,12      57:17            hate 68:21      hour 85:14,19
        59:11              28:2,9 36:4,11   grievant 71:22     head 64:14        85:21
     Friday 1:18 5:2       39:3 78:18         71:24            header 17:13    HR 13:19
     front 17:3,10         86:13            grievant's 72:3    heading 42:1    human 13:9
       19:13,15 32:25    go-to 77:1         Gromek 61:2,11     hearing 19:14   Huron 14:13
       56:10,22 59:1     going 15:23          61:13,19 64:1     19:23 20:1,4,7 husband 9:8
       79:17               23:25 25:16      ground 24:19        20:11,22,24
     full 6:15 91:11       33:20 36:3       group 36:17,21      21:16 22:22,24         I
     functions 13:19       42:24 43:6,9     grouped 34:11       31:19 32:14,18 IDENTIFICA...
     fund 30:7,16          61:17 65:3       growing 25:14       33:1,14,17,21    16:22 56:3
                           66:14 68:6                           45:21 66:11      58:19 63:19
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18               PageID.5455      Page 32 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                       Page 98

       79:10              40:3,17,20       J 47:8 52:8        job 11:5 12:22        60:22 61:22
     imagine 67:16        41:1,1 46:17     James 1:5 16:19      13:2 18:15          64:7 66:3,11
     immediately          46:20              17:8 18:14,19    John 52:18            68:1,20 69:13
       12:20            internally 44:7      18:22 19:6       joined 9:21 10:3      69:16 70:3
     immunity 88:15       45:14              20:7 22:5        joining 51:24         71:6,11,14
     implement          Internet 50:16       23:14 25:7       Jones 57:20,23        72:11,14,21,23
       20:23            interpret 44:1       26:7 27:7          58:6,11,25          73:4,7,8,9,16
     important 23:2     interpretation       28:16 29:17        59:4,7,9,15         73:18,22 74:1
       77:20              44:22,23           30:18 31:9,12      64:19               74:3,6,10,12
     improper 75:5      interpreted          31:14 32:17      JTC 2:18 22:16        74:16,18,22
     include 14:6         43:11              33:10 34:25        66:2,6 70:9         75:12,14,17,20
     included 75:9      interrupt 6:7        35:19 36:18        80:25 81:3          76:4,5,7,10,11
     incorrectly        interrupted          38:2,24 41:5       83:13 89:4,7        76:12,19,25
       72:24              16:18              41:19 44:21        89:10,13            77:2,8,13,14
     Index 50:15        Intro 11:9           45:6 47:24       Judd 3:11             77:16 78:4,9
     indicate 88:17     invade 83:6,16       50:11 51:7       judge 1:9 13:12       78:17,17,19,20
     indicated 65:4     investigate          53:8,20 57:17      13:12 16:19         78:22 79:2,16
       80:24 83:15        24:14,17,24        58:8,10 60:20      17:7 18:14,19       80:12,14,17
     info 30:22           45:9 55:8 80:5     60:21,22 61:23     18:22 19:6          81:8,20,25
     information        investigating        64:7 66:3          20:7 21:5 22:5      82:3,8,16,22
       28:23,25 29:6      24:20,23 25:20     69:13 70:3         23:3,5,13,22        82:25,25 83:4
       31:8 34:8        investigation        71:6 72:23         23:22 24:12         83:6,22,25
       35:22,23,24        18:2 40:1 71:3     76:10,25 77:14     25:2,7 26:5,6,7     84:13,15 85:1
       47:4 59:7,11       77:25 79:6         77:16 78:4,9       26:9,13,25          85:5,13 86:12
       59:15 72:2         80:12 81:5         78:20,23 79:2      27:3,4,7,7,9,13     86:13,19 87:12
       80:8 88:2,3        88:14              81:25 82:4,22      27:14 28:2,9        87:20,21 88:6
     informed 63:3      involvement          85:1,5,13 87:5     28:16,23 29:2       88:8,14
     infrequently         19:5,7 88:21       87:12 88:15        29:16 30:18       judge's 83:17
       24:19            involving 71:10    James' 23:22         31:8,12,14        judges 16:13
     initially 27:19    Ish 10:15            37:19 38:9         32:11,17,22         23:20 25:3
       31:5             issue 33:6 51:1      66:11 68:1,20      33:10 34:25         26:10,18 27:1
     Inkster 37:4,10      55:18 58:6,7       69:16 82:16,25     35:19 36:18,23      38:18 43:3
       37:11 47:11        63:16 64:17,18     83:1,6,22          37:19 38:2,8        71:4 76:8
       57:24 62:20        80:21              84:13 86:13        38:14,16,17,18      77:15 78:3,9
       65:5             issued 45:21       January 46:9         38:21,23 41:4       78:18,24
     instance 16:8        59:7               68:9,11 83:13      41:6,18,22,23     judicial 17:23
     instruct 71:16     issues 16:8 18:4     85:10              41:24 42:7,9        55:17
       73:24              54:19 60:17      Jason 2:3 5:11       42:12,16,19       July 85:6,11
     intentionally      item 60:2 80:15    JD 7:9               43:5,6,8 44:21      86:25
       28:1               80:17 81:9,16    JEANMARIE            45:5 47:24        June 9:3 12:22
     interested 15:19   items 25:10          2:12               50:11 51:7          12:24 13:21
       87:8 91:13         59:18,25 60:2    Jeffrey 50:25        53:8,20 55:17       15:21 17:10,14
     interim 26:12        65:6 80:14       jhirsch@mor...       57:17 58:8,10       17:24 18:16
     internal 39:14                          2:9                60:16,20,21,21      19:2 22:5,14
                               J
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18             PageID.5456       Page 33 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                      Page 99

       25:14 28:20      32:8 34:6          56:16               30:1,4,9 31:1,6     89:20
       57:14 66:1,2     35:11 36:7,15    Lapeer 14:12,13       31:12,18 33:10    looked 55:13,23
       68:3 69:15,17    36:21 37:20,25   late 68:11            33:15,19,23,25      55:25 56:13,14
       70:20 80:22      39:18 40:12      Laurel 3:3            53:7,20 58:25       56:24 57:13
       88:5 91:25       41:13 42:3       law 3:2 7:3,7         59:6 64:19        looking 18:4
     jury 74:5          46:14,19,25        9:12,16 10:8        79:15,19,22,24      40:12 41:7
     justice 19:25      47:1 48:5,12       10:10,21 11:9       80:9,11             43:13 44:9,10
       20:7,18,21       50:20 51:15,24   lead 24:3 67:3     letterhead 29:22       44:12 46:1
       22:20 24:24      51:24 52:20      learn 57:5         level 18:5 57:10     looks 30:21 36:2
       31:15 32:2,6,8   54:22 55:25      learned 75:6          63:12               37:7 38:1,8
       32:12,13 33:25   57:16,19,20      leave 18:23 19:6   limit 85:21,25         47:16 48:21
       69:16 70:23      59:21 62:23        19:10 21:4,19    line 48:10 49:22       49:6 50:14
       77:11            63:9 65:9 67:7     21:21 22:6,7        50:3 59:18,25       51:3 54:5 56:8
     justices 19:22     67:24 68:3,6       22:25 23:11,14      60:1,2 65:6         79:19
       20:4,11,14       68:14 69:6         24:10,15,25      list 76:8 77:6       lot 11:18 12:8
       22:21 45:16      70:17 72:19        25:1,8 26:7,23      80:7 89:20          24:2 63:17
       70:25            73:19,20 75:7      28:16 30:19      listing 80:4           77:15 78:3
                        76:9 78:6 80:1     31:9 34:25       little 27:25 38:5    lower 34:16
             K          80:7,10 81:2,4     35:20 36:19         40:13,15 43:11      35:14 51:3
     K 48:17            81:5,8,10,13       37:19 38:9,11       47:13 58:16         68:22
     K-O-N-S-C-H...     81:13,14,14,20     38:16 39:9       Livingston           lunch 79:3
       72:25            82:3,6,8,18,18     41:5,15,18          14:10,11          Lynn 1:14 4:4
     Kandrevas 71:6     82:21 84:16,25     43:7,12,15,24    Livonia 3:5            5:5 6:16
       71:11,14 72:11   85:25 86:3,14      44:5,10,15       LLP 3:11             Lyon 3:12
       72:14,21         88:20              45:6 47:3,5,24   local 76:9,24
     keep 43:8 63:1   knowing 39:21        50:12 51:7       locate 52:1                M
     kept 25:14,17    knowledge 18:7       69:14 70:3          80:15,18          M 54:4
       70:11            51:22 72:16        72:15 78:14      located 11:11        ma'am 6:17
     keys 82:6,9      known 31:8           82:4,22 83:1        82:16              56:7 63:23
     Kilpatrick         54:20              83:23 84:6,8     locked 82:3,21       Macomb 14:8
       42:22          Konschuh 72:23       87:2,13          long 7:19,19,19       14:23
     Kimberly 74:22 Kruze 9:21           leaving 15:12         7:22 25:4         Maggie 66:24
     kind 8:8 25:12     11:21,23         led 24:15             58:18 73:8         67:3,6,22
       28:7 67:8      Kwame 42:22        left 9:15,23       longer 26:19         magistrate 1:9
       68:22,25 69:23                      15:21,24,25      look 28:2,7,8         49:8 51:1
       70:16                  L            29:24 34:16         29:12 31:11        54:23
     kinds 42:6       L 49:6 52:10,11      35:14 47:19         34:2 35:14        main 24:5
     knew 18:14,19      53:17              48:10 52:23         37:12 38:6        maintain 8:19
       22:10,11 30:14 Labadie 9:21         57:5 86:16          40:9,13,16        maintained 12:7
       76:22 78:16    lack 11:17         legal 54:11           44:14 45:24,25    makeup 15:5,17
     know 6:8,12 8:3 land 23:21 50:15    let's 11:3 37:15      46:2,15 47:7      manage 25:3
       8:8 16:2 17:16   50:22              42:22 55:2,4        47:21 54:4         46:21
       17:21 19:13,17 landscape 34:17    letter 18:3,7         56:18 57:1        managed 13:8
       22:4 24:18       35:15              22:11 29:16         65:21 72:1        management
       25:16 30:12    Lansing 2:15                                                13:19,19,20
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18            PageID.5457      Page 34 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                   Page 100

      23:5 76:15,22    meet 60:15        Microsoft 17:17    named 68:14        number 16:13
     managers 76:17     61:18 65:16      mid 6:12 68:11     National 80:18      34:9,10 38:1
     manner 45:15      meeting 61:3,5    Mike 3:2             81:17             40:11 53:8,17
     March 29:16        61:22 62:10,15   Miller 2:12 7:19   nature 20:20        63:24 68:11
      30:2,11,15        62:22 63:3        9:13 10:6,19        67:5 70:6         76:14 81:9,16
      31:1,5            65:2 67:22        14:12 58:7          87:25            numbered 14:3
     mark 16:21 56:2    69:11,11 83:2     71:15 72:1,8      near 60:16          49:22
      58:17 63:18       83:3 85:17        73:23 74:14       necessarily        numbers 40:15
      74:1,16 79:9      86:20,24,25       75:18,21 90:1       41:25             44:3 49:13
     marked 16:22      meetings 66:23    millerj51@mi...    necessary 64:22     50:14
      17:2 56:3,8       67:1 69:9         2:17              need 6:11 23:8     NW 3:12
      58:19,24 63:19    78:10 87:11      mind 24:2            28:3 42:25
      63:24 79:10,15   member 7:11,13    minds 24:2           43:8 51:19                O
     Mary 73:7          8:1,13,16        mine 47:21           57:1 68:23       Oakland 14:8
     matched 44:17     memo 64:5,7,16    Misco 11:13        needed 9:8 16:6      14:22 74:21
     matches 50:3      memoranda         misreporting         16:10 18:5       oath 5:19
     material 29:10     40:4              44:24               27:5 31:22       object 73:21,23
      49:17            memorandum        missing 14:9         32:21,25 42:20   objection 71:16
     matter 5:12        40:17,20 52:15    43:5 81:14          85:23              74:14 75:18,21
      38:20 68:1,20     56:9 63:25       moment 23:16       needs 28:3         observe 82:19
      69:4,16 77:13    memorandums        76:18 89:20       negative 77:16     observed 86:6
      89:17             39:11 40:4       Monday 34:19       never 57:5 70:9    obtained 10:8
     McLemore          memorialized       35:15               70:24 71:2       occasion 78:8
      25:22 28:10       21:7             money 59:18,25       86:11            occasionally
      29:18,19 34:7    memorializing      60:2 62:18,21     new 35:22,24         42:21
      35:12 56:10       64:16             63:1,2 65:6         47:4 49:4        occasions 76:14
      62:9             memory 7:22       Monroe 14:8          75:24            occur 75:8
     McLemore's         57:22            months 63:10,10    newspaper 75:7     occurred 78:1
      25:11 30:4       memos 38:2         63:10             nice 9:9           October 6:18
      31:2             mentioned 8:22    Morganroth 2:4     Norcross 3:11        53:21 56:9
     McPhail 54:17      10:23 11:10,20    2:4               normally 20:13     offer 88:13
      83:3,15 85:6      12:2 28:22       morning 5:10         70:8             office 9:5 10:4
      85:12 86:20       83:10 85:1       motion 72:5        north 2:5 3:3        12:25 13:22
      87:4             mess 87:8         move 23:12 65:6      73:6               14:17 45:14
     mean 24:12        met 18:16 66:19   moved 54:24        Notary 91:1,23       56:12,17 66:7
      28:15 33:14,15    66:22 85:5       multi 38:18        note 37:2            66:19 68:18
      37:7,9 41:18     Meyering 56:20    mushroomed         noted 43:24          76:12,13 81:25
      42:5,15,19,20    Meyering's         22:13             notes 91:12          82:3,6,9,14,16
      45:5,16 54:24     56:21                               notice 5:14          82:25 83:22
      58:8 71:23       Michigan 1:2,16          N             84:18 86:9         84:4,6,13,22
     meaning 41:1       2:7,13,15 3:5    name 5:10 6:15     notified 31:20       87:5
     means 42:3,7       3:13 5:1 7:11     9:19 11:10,21     November           Offices 64:15
     meant 36:10        8:10,16 14:7      57:21 58:3,14       52:15 53:7       official 45:15
     mediation 64:21    53:1 91:2,24      72:3 73:3,5         58:25 59:21      officially 10:12
                                          78:10                                oh 6:23 8:18
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18          PageID.5458      Page 35 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                 Page 101

       14:13 18:18      opening 84:21   pages 17:13         50:23            plenty 22:10
       30:3 31:21       operate 21:5     37:15 38:2,2     period 6:22        PLLC 2:4 3:2
       40:14 50:17        23:22          51:9,12 52:8       11:12,23 57:18   plus 44:17,20
       69:8             operations 13:9  52:13            periods 38:9       PO 2:14
     okay 5:22,25 6:5     13:18         Pagnucco 9:21     perjury 73:16      point 14:24 25:9
       6:9,10,13,14     opinion 77:16    11:21,22,23      permit 6:9           25:9,17 26:17
       9:13 13:8          77:24 78:4    paid 54:10        person 18:16         56:24 80:24
       14:15 15:16,22   opinions 33:19  Pam 40:22           19:15 62:8       points 80:4,7
       16:2,14 17:22      78:8           48:12 62:1         71:23            poor 78:4 79:1
       18:19 19:1,5     opposed 42:11   Pamela 36:23      personal 83:8,17   Port 14:13
       20:20 21:20      options 23:1     37:24 87:15        85:18,23 86:13   portion 49:12
       26:12,21 28:19   order 21:7,10,20PANDERSON           86:14,15 87:6    position 12:16
       28:25 29:15,19     21:21,23 24:17 48:8               87:9               26:12 77:3
       31:4,8 32:5        24:23 51:10,16Park 3:3 9:22     personally         possible 67:2
       36:7,14,17         59:17 60:6     10:1 12:3          32:13 82:19        68:21 69:5
       37:6,12,13,17      62:12 70:13   Parkinson's 9:8   physically 86:4    possibly 23:3
       38:1,20,23       ordered 24:24   part 8:3 16:9     pick 85:14         potential 71:22
       39:6 40:19       organization 8:9 19:23 22:7       picture 25:18        77:13
       42:18 43:20      orientated 34:16 30:25 31:5         77:21,22         practitioner
       44:1,3 45:9,19   orientation      44:23 45:19      place 19:6 21:17     11:18
       45:23 46:15        34:15          52:8 55:20         24:9 68:9        predates 51:24
       47:9,13 49:1,4   original 16:9   part-time 11:5      71:15 86:24      preferably 6:11
       49:20 50:8,11    originator 15:4 partially 39:12   placed 18:23       prelaw 9:16
       50:25 51:22      outside 21:5    particular 33:6     22:6,7,25          10:25
       52:5,14 53:2,4     23:3,4,20,22   45:12 54:14        23:14 25:7       Preliminary
       55:8,16,23         32:22 41:22   parties 57:3        26:7,22 30:18      46:17
       57:25,25 58:2      56:19          90:6               31:9 34:25       preparation
       58:5,16 59:6     overloaded      party 91:13         35:19 36:18        88:4
       61:22,25 62:14     14:21         pass 65:5           45:6 47:5,24     prepare 89:9
       64:21,24 65:20   owners 50:22    pass-throughs       50:11 51:7       prepared 31:3
       65:22,25 66:16                    63:2               69:13 70:3         35:12 37:14,18
       67:13 68:10,16          P        passed 33:23,25     72:14 78:13        37:20 39:10,18
       69:9,24 70:6     P-A-G-N-U-C... Paul 1:8 17:23       82:4,22 83:1       64:5 80:7
       70:22 73:4,7      11:22           67:2               83:23 84:6,8     present 66:25
       74:1 75:25       Paddock 9:13    pay 59:20 62:17     87:13              85:11 89:3
       81:16 82:11,21   page 4:3,11      62:24,25         plaintiff 1:6      presentation
       83:19 84:12,18    17:10,21 29:24 Payee 35:8          2:10 5:12          35:25
       84:21,24 87:11    36:4 37:16,18 paying 59:22       plan 60:15         presented 19:15
       88:13 89:19       39:9,19,22,22   60:3 62:17       plans 70:12          34:8
     old 2:5 79:1        40:11 41:7     Penn 6:19         please 5:21,25     presume 24:11
     once 6:5 58:12      43:13 44:9     peons 32:10         6:2,8,15 16:21     63:6
       62:17             46:3,8,16      people 16:4         56:2 58:17       pretty 23:2 61:6
     ones 32:23 54:22    49:24,24 50:1 people's 24:2        59:10 63:18      previous 25:13
     open 17:18          50:14 64:23    performed           79:9               28:6
                         79:20 80:3,3
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18            PageID.5459      Page 36 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                   Page 102

     primarily 10:22    purpose 36:9       56:14 58:14        85:9,16            16:9 38:3
     printed 47:17        39:8             59:24 65:12      recommend            52:25 71:8
     prior 18:14,16     purposes 50:18     67:2,3 72:12       23:6               72:17 73:1,5
      19:19 20:1,2,4    pursuant 5:13      73:3 76:18       record 5:12 6:5      73:12 74:3,18
      27:7 30:25        pursue 23:15     reason 9:7 22:12     6:9,15 19:17       74:24 75:9
      31:23 32:14,17      88:18            35:3 58:15         19:18 26:5       regional 13:24
      45:5,10,13        put 19:18 21:4   recall 11:10,12      67:18 73:20        23:19 73:13
      49:2 52:6 53:5      21:19,21 23:11   11:15 12:14        75:16 76:2         75:8
      54:2 65:7 66:2      24:25 25:1,5     18:22 19:1         89:22,23         regions 14:4,25
      72:2 76:24          32:18 47:2       20:15 21:14,16   recorded 5:22        15:18,20
      77:23 78:19         76:8 87:2        31:18 32:16        91:9             register 30:22
     privacy 83:8       putting 19:10      33:13 34:21      records 39:4,16      34:10 35:22
     private 12:7                          36:17 37:14,18     44:7 50:16,22    related 55:14
     privileged 71:24           Q          37:22 39:1         52:1 80:18         81:16,21 91:12
     probably 34:24     question 5:24      40:19 46:24        81:16,21,21      remember 9:19
      45:14 52:23         6:3,4,12 8:3     48:2,4 50:6,23   rectified 54:25      11:2 19:4,13
      72:19 80:8          25:13 45:23      52:3 54:13       redated 17:20        20:19 40:6
      89:21               83:12,14 85:10   57:23 58:5,10    reduced 91:10        42:23 58:13
     problem 55:18      questioned         59:15 61:5       refer 40:16          61:8 65:10
     Procedure 5:14       71:11            62:8,10 66:10      65:21              67:21,21 69:3
     proceeding         questions 5:17     66:22 67:2,3     reference 59:6       69:5 72:12
      83:13               31:14 32:7       67:10,13 70:1      60:5               77:7 82:5,10
     process 59:21,23     67:7,10 83:16    72:12 73:12,15   referenced 81:9      83:8,10 84:23
     professional         85:13 90:1,2,3   73:17 74:5,8     referencing          85:8,21 86:3
      7:23 8:1,8          91:8             75:3 79:22         60:21              87:9,24 88:24
     progress 69:18     quite 15:18        81:11 82:24      referring 30:12    rendered 74:5
     prompted 18:1                         83:5,12 85:1,5     54:22,23 55:25   reopened 17:20
      79:6                      R          85:19 86:19        60:20 61:18,19   reorganizing
     pronouncing        R 1:9 2:3          87:25              66:3               35:21
      72:24             raised 19:8,11   receive 31:22      reflect 41:4       report 22:16,16
     property 50:22       30:4 45:19,21    33:17              46:13              38:16,18,19
     prosecution          60:17 78:22    received 28:22     refresh 32:5         47:11 48:18
      9:24                80:21            34:21,24 35:19     56:12 59:3       reported 39:17
     provide 31:20      ran 76:18 78:24    38:23 40:19        85:9,15            44:5,14,16
      38:14             Rapids 3:13        47:23 48:2,4     refreshes 57:22      45:1 69:18,18
     provided 29:6      RATLIFF 3:10       50:8 79:6          73:10              69:19
      46:22 52:2          90:2           receiving 33:13    refused 65:16      reporter 6:4 8:5
      67:13 81:11,20    reached 71:19      50:6             refusing 59:19       8:9 17:1 56:7
      81:21               71:21          Recess 76:1        regard 71:16         58:23 63:23
     providing 31:14    read 75:7 89:10 recognize 17:5      regarding 49:7       72:25 79:14
      67:8              Real 50:15         58:3 73:3,5      region 14:2,4,5    reporting 8:25
     Public 91:23       really 12:5      recollection         14:6,15,20,21    reports 38:11,23
     pulled 52:4          13:12 15:18      32:5 56:12         14:24 15:2,5,8     39:23 44:15
      53:11,23            16:5 19:4        59:3 73:10         15:15,23 16:3      54:6 68:24
                          21:25 27:25
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18              PageID.5460      Page 37 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                     Page 103

     represented          31:24 33:2         83:10,17 84:18     42:1 43:16,20    shifting 60:1
       11:18 12:8         34:15,17 35:4      85:2 86:9,13       43:21 46:5,10    shoot 29:4
     request 18:1         37:4,9 38:6        86:14              46:17 47:11,14   short 75:22
       22:23 41:24        43:2,13,16       Saint 14:13          47:18,20 48:7    show 5:12 31:3
       59:7               45:3 46:6 47:9   saw 86:11            48:18 49:21,23     39:9,15 50:22
     requested 36:25      47:16 48:16,22   saying 44:8 69:2     50:16 51:4,13    showed 84:15
       66:9 90:5          50:4 51:3        says 34:19 37:9      52:16,18 53:9    shows 42:13
     requesting           52:11 55:14        37:11 42:1         53:18,21 58:16   sick 42:9
       80:14              57:14 59:13        47:13 48:7         60:18 80:3,5     side 23:6 27:14
     requests 36:3,8      60:6,9,11,13       51:3 59:24         80:19 81:17        27:17,18,22,24
       41:8,21,21         60:20,23 62:3      80:4 81:14         85:9             Signature 90:5
       46:5 71:3          62:23 63:7,12    SCAO 30:11,14      seeking 59:15      similar 34:11
       81:23              63:16,17 64:7      30:15 38:3,23    seen 81:23 82:14     38:2,6
     require 70:22        64:18,25 65:2      39:3,17 40:25    selected 76:7      simple 42:13
     required 38:12       65:4,6,7,13,14     45:9 46:22       selecting 78:17    single 38:21
       38:14              65:17 66:13,21     48:24 49:17      selection 77:12    singular 55:17
     requires 32:22       68:12 69:7         51:19,23,25      sends 38:19        sit 23:20
     resolution 65:5      72:17,21 74:8      53:4,11,14,24    sense 34:23        site 40:23
     resolve 65:3         74:20 75:2         54:2,20 55:23      42:19            sitting 42:15
       80:5               80:12 86:4,7       62:7 79:7 81:6   sent 37:22,24        43:7
     resources 13:9       86:10,25 87:2      81:12,21           40:21 48:6       situation 23:9
     respect 57:17        87:18 88:5,9     SCAO's 52:1          89:10            six 9:23 10:3
     respective 90:6      88:11,12         Schmucker          sentence 16:17       12:19
     respond 66:8       ring 58:15           32:10,15,17,20     60:5 64:25       small 9:18 11:11
     response 31:20     rings 57:21          32:24 33:4,23    separate 16:11       11:18 12:8
       31:23 33:10        58:14              69:21 79:16      separated 15:8       74:22 75:14,20
       81:24            risen 18:5           81:2 83:5,14     series 5:17 18:4   solely 27:3
     responsibilities   roadmap 28:7         87:5               36:3             solicit 28:25
       13:17            role 24:10         school 7:3 9:12    served 12:16       somebody 24:12
     rest 42:25 62:18   Ron 64:11            10:11            Service 30:7,10      42:25 77:17
       63:4             room 67:23         search 50:15,16      30:16 34:3       Somers 74:1,6
     restroom 75:23     rose 57:10 63:11     50:21,23 52:1      35:7 55:20,24      74:10,13
     resulted 32:7      roughly 26:22      second 10:11         56:13            somewhat 75:24
       71:18            rule 13:13           11:3 24:14       services 54:11     son 10:17,24
     retire 9:2,7       rules 5:14 42:10     48:10            set 54:13 85:25    soon 21:21 25:7
     retired 8:4,22       72:2             secretary 50:24      91:8             sorry 8:7 9:17
       9:4 76:8,11,23   run 25:2 70:17     section 36:12,16   seven 14:7 80:4      16:18 28:11
     review 89:6,12     running 70:10        41:15 56:16        80:7               37:15 47:20
     reviewed 30:25     Ryneir 66:24       see 11:3 17:11     Sharon 1:19          50:17,17 52:11
     revolving 69:23      67:6 69:10         17:13,14 22:13     54:17 83:3,15      58:10 61:14,16
     right 11:9,21                           28:2 30:5 34:4     86:20 87:4         84:11
       12:21 21:25              S            34:14,16,19        91:6,22          sort 10:18 11:15
       24:12 28:13,20   Sadly 55:17          35:8,14 38:3     Sheet 46:16          14:21,23 25:4
       29:6,22 30:16    safe 82:16,19,21     40:10 41:11,16   shift 59:18,25       28:1,7 29:22
                          82:25 83:6,10
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18              PageID.5461     Page 38 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                    Page 104

       34:8,10,14,17     states 1:1 7:14      34:13 39:9,11    76:1 91:7,12     thing 17:17 22:1
       40:13 41:15       stay 9:8             48:18          takes 63:17          22:13 23:7
       45:24 46:16       stayed 9:15 15:1   summer 10:12     talk 32:10,12        24:14 43:4
       77:1 84:17          15:4               27:5             55:4 58:14         60:13 67:9
     sorts 78:22         stenographic       superintendent     62:22            things 13:16
     sound 66:21           91:11              14:18          talked 32:13,24      22:15 23:25
     sounds 24:6,7       stenographica...   support 36:10      33:1 68:5 69:3     24:8,21 28:8,9
     southeast 14:7        91:9             supposed 46:13     69:6               29:3 32:9
     SOUTHERN            steps 23:17 45:9     62:18 86:12    talking 6:5 7:22     34:11 60:11
       1:3               Steven 1:9         supreme 14:20      40:10 51:12        69:7
     speak 20:14         Stone 9:14           16:16 18:23      68:2 81:16       think 7:17 11:20
       33:6 66:1         Stowe 73:4           19:8,11 23:17    83:8 86:25         11:21 12:2,10
       87:15             straight 69:20       24:9 32:22,25  tamper 22:9,17       12:21 17:17
     specialized 12:5    Street 3:12        sure 5:21 6:2,3  tampered 85:2        18:3 19:3,19
     specific 81:10      strike 8:21          15:14 36:25    tampering            21:18 22:9,11
     spent 10:23           20:16 26:4         61:6 66:13       23:10 85:22        22:25 24:2,20
     spoke 32:8            30:14,24 35:10     67:19 70:5       86:6               27:3 28:22
     spoken 80:25          38:13 39:2,6     Swastek 68:14    Tamsen 9:21          30:4,9,24
       81:2                51:15              68:19          tangible 22:15       36:16 39:12
     SS 91:3             strong 70:16       sworn 5:7,18     taught 9:16,16       40:5,10 49:20
     Stadnika 64:11      struggle 76:16     Sylvia 1:5 16:19   10:25              50:21 52:10
       64:13             stuff 17:18          76:24 86:21    tell 13:5 22:10      54:6,16 56:25
     stage 56:14           25:10,11 81:23     87:4             28:3 51:11         57:10 61:11
     stamp 46:1            83:11 87:9                          54:15 59:9         63:11 66:18
     stapled 47:20       subject 7:23               T          66:13 86:12        71:21 73:6
     star 66:14            41:8 46:6        T 3:10           telling 59:17        75:22 84:9
     start 60:3 75:23      59:10            Tab 29:14 30:21 tenure 17:23          86:22,22 87:3
     started 7:19        submitted 17:22      31:11 33:9       18:6 24:3          89:20
       9:13 10:6,20        39:11 40:25        34:2 35:6 36:2   68:17            third 16:6 79:20
       12:22,24 13:21      57:14,16 69:14     37:12,12 39:22 termination        Thomas 85:6,11
       14:6              suborned 73:16       46:15 47:7       75:5             thought 26:19
     starting 49:24      subsequent           48:17 49:6     terms 13:2           32:1 54:25
       80:3                17:13              52:8,10,11       18:11 19:21        57:3,25 65:3
     state 6:19 7:5,11   subsequently         53:17 54:4,4     43:10              85:2
       7:13 8:10,16        15:7 85:1        TABLE 4:1        terrible 78:24     thoughts 76:24
       9:4 10:4 12:24    substantial 74:8   tainted 77:23    testified 5:9      three 9:14 10:14
       13:21 14:5,16     suggested 23:1,2   take 6:13 23:17    66:18              10:16 14:22
       14:25 32:11         77:2               26:6,9,11 27:6 testify 5:7          16:4
       52:23 53:1,1,2    suggestion           57:4 58:1      testimony 66:10    time 5:24 6:7,11
       61:15,16 64:14      44:20              65:23 70:25      66:16 83:13        6:22 7:19 9:7
       69:19 70:10,14    Suite 2:6 3:4        75:22 82:8       85:10 89:3,7       9:12 10:23
       70:18 76:13       summaries 38:8       89:19            89:10,12           11:12,23 14:4
       91:2                39:13            taken 1:15 5:13 thank 14:11           14:6,15,20,21
     stated 18:3         summary 34:4         21:24 45:9       89:24              15:1,18 18:11
                                              59:22 62:16
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18           PageID.5462      Page 39 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                  Page 105

       18:14,22 22:2       9:10           understood 41:4 Warner 3:11         witness 4:3 5:6
       22:10 23:13,16    travel 25:11       41:18          Washington          90:5
       25:13,17 26:13      36:12          unheard 43:3      2:18 24:18,22     Woodhaven
       26:17,21,21,22    treasurer 57:25    62:25           26:6,25 27:3       10:2
       26:24 28:15,15    treasurer's      unit 62:19 76:21  27:13 28:23       Woodward 2:5
       32:11 38:9          76:12,13       UNITED 1:1        29:2 36:23        word 11:17
       44:18,25 45:10    Trenton 9:20     units 76:15       40:22 76:4,7       17:18 70:16
       48:13 57:1,12       11:11          University 6:19   76:11,20,25       words 22:24
       57:18 58:18       trial 42:22 89:10  7:5             77:8 79:16         30:4 37:8 44:8
       61:12 62:15       tried 76:8       unusual 62:25     80:12,14,17       work 9:17 10:18
       64:14 65:23       trouble 84:21,23 update 70:7       81:8,20 82:8       11:15 12:2
       66:18 67:23       true 18:7 65:17  upper 29:24       83:25 84:15        25:25 32:9
       68:7 70:2,15        66:16 91:11      47:16,19 48:10  86:12,19 87:21    worked 10:22
       73:8 75:8         truth 5:7,8,8    User 48:7         88:6,8             12:6 76:11,20
       76:18 82:19,22    try 5:25 13:5    usually 43:4,5   Washtenaw          working 15:19
       83:14,22 84:3       40:1                             14:8               76:12
       84:5,13,19,19     trying 31:4              V        wasn't 24:3,4,20   worried 28:4
       85:24             turn 29:13 30:21 vacation 42:9     24:22 27:16,20     83:9 88:20
     timeframe 11:2        33:9 34:14     vaguely 73:3,11   27:21 44:21       wouldn't 15:12
       30:2 49:15          35:6 36:2 47:7 Val 24:18,21      83:2 85:17         42:19 70:8
       51:23 68:2          49:6             40:21 76:19     86:17              88:23
     timeframes 10:6     TV 66:14         various 38:9     Waterstone         write 59:9
     times 82:13,15      twice 66:19      verbally 5:21     73:7,16,18,22     writing 19:12,19
     timing 31:24        two 6:5 9:14     violating 59:24  way 26:18 32:9      19:20
     tip 56:15,15          10:1,14,16       63:4            39:21 62:23,23    written 18:9
       57:4,5              12:13 15:22    violation 62:12   64:16 65:9,23      31:18
     title 46:16 47:10     24:7 44:24       63:11           69:3 70:1         wrong 62:23
       50:18               45:24          visiting 26:18    71:11             wrote 80:9
     today 89:17         types 34:11        27:1 78:19     Wayne 7:5 14:7
     told 32:1 33:2      typically 32:9   vote 21:12,13     14:22 15:8,19            X
       54:23 63:6          66:7 88:2      voted 21:14       16:3,5,10,12
       78:7 84:18                         vs 1:7            26:11 50:15,21            Y
       86:19 88:22               U                          73:9 77:15        yeah 21:25
     top 35:8 37:19      Uh-huh 53:19             W         78:3,9 91:4,24      39:13 40:7,14
       47:10 48:7        ultimately 71:17 W 1:15           ways 13:16 34:9      43:17 52:12
       49:22 50:4,14       77:10          wait 44:15       Wednesday            54:24 56:19
     topic 75:24         unanimous        want 15:15        31:22               65:20 78:2
     total 44:10           21:15            25:14 27:19    week 43:7          year 8:4 9:3,20
     touch 78:25         undergraduate      45:24 47:21    went 9:17 10:24      10:11 12:14
     transcript 4:12       6:19 11:6        65:21 69:10     19:13,14 26:18      38:24 46:12
       89:6,12 91:11     understand 5:18    76:23 77:23     68:11               48:21 61:6,7,7
     transcription         5:24 6:4 15:14   78:20,25 87:1 weren't 25:19         61:10 69:25
       91:10               41:2 44:9      wanted 15:17     Whalen 1:9         years 9:14,23
     transcripts 8:5     understanding      22:12 27:16    winter 61:9          10:1,3,14,16
                           44:19            77:17,21 88:7                       12:13,14,19,21
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18           PageID.5463     Page 40 of
                                     49
     DEBORAH LYNN EVANS GREEN
     August 11, 2017
                                                                                 Page 106

       12:23 16:5      14th 17:20,24      34:22 35:16        2:8               3:6
       39:13 40:6        22:5 84:2,10     45:7,10,13,20    24th 9:25 12:11   79 4:18
       68:24             84:13 87:2,3     46:16 47:18        13:3,15 85:10   7th 31:11 33:10
     yep 50:19         15 79:16           49:2 50:1,9      2nd 35:2
     Young 24:25       16 4:14 58:25      51:4 52:6 53:5                             8
       32:2,7,8,14     17 6:18            53:15 54:2               3         86 10:17 11:3
                       17430 3:3          55:6 57:14       3 4:16 58:20,24   87 11:5
             Z         18 31:1            66:1,2 68:3        64:23 80:3      88 11:5
                       18th 29:16 31:5    69:15 70:20      3030 1:15         89 11:4
             0         19 44:15 47:18     79:16 80:22      30736 2:14
     04 52:24          1957 6:18          84:2 85:7,11     31 44:10,20              9
     05 44:16          1978 6:23          88:5             33rd 10:2 12:17  9 50:1 91:25
     06 39:14 44:14    1984 7:8 10:9,14 2012 68:9 83:13      13:4,16        9:25 1:17 5:3
       44:16           1990 11:14         85:10            344 2:5          9:41 16:24
                       1998-5  60:6     2013  14:18 15:1   36th 14:19 16:7  91 11:24
             1                                                              96 12:15
                         62:12 63:7     2015 80:24
     1 4:14 9:3 14:4,5                                             4        96-ish 11:24
                                        2016 9:3 15:21
       14:6,20,21              2                           4 4:17 52:15     97 12:15
                                        2017 1:18 5:2
       15:2,5 16:3,23 2 4:15 34:19,22                        63:20,24 80:17 98 12:15,23
                                        2019 91:25
       17:2 29:24        35:16 51:12                         81:16          98-5 59:24,24
                                        21 53:7 56:9
       38:3 39:22        56:4,8 80:3,15 21st 53:21         4-30-2011 47:14    63:4
       52:25 57:13       81:9                              48009 2:7
                                        22nd 34:3 35:7
       66:1            2-21 43:16,18                       48152 3:5
                                          41:2,19 48:13
     1-3 43:21,24      2:12-cv-10273                       48909 2:15
                                          49:8 51:17
     10:36 56:5          1:7                               48th 74:20 75:1
                                          61:20,21 62:2
     10:39 58:21       20 44:20                              75:4,9
                                          76:5 81:25
     10:45 63:21       200 2:6                             49503-2487 3:13
                                          82:11 87:12
     1099s 81:8,13     2002 49:14,18    2327 40:16,18              5
     10th 1:15 17:14     51:10,23 52:15   41:8 43:13
       17:19             53:7,21                           5 4:7,18 46:9
                                          46:2,9
     11 1:18 5:2       2003 12:22,24                         79:11,15
                                        2328 46:3,8
       33:16 51:4        13:21                             517.373.6434
                                        2369 49:13
     11:00 76:1        2005 46:9                             2:16
                                        2376 49:14
     11:05 76:2        2006 41:8 46:6                      56 4:15
                                        2377 49:24
     11:10 79:12       2007 46:9                           58 4:16
                                        2379 49:24
     11:26 89:22       2009 55:24 56:9 2380 50:14,17
     11:27 89:23 90:4                                             6
                         56:13 57:8     2381 51:12
     111 3:12                                              6 46:9
                       2010 48:18,21    2386 51:12 52:9
     12-1-2010 64:3                                        616.752.2539
                         58:25 61:1,7     52:13
     120E 3:4                                                3:14
                         81:17          2387 52:9,13
     13 16:5                                               63 4:17
                       2011 17:10       2388 53:9
     13th 31:22 32:18                                      6th 7:20
                         18:16 19:2     2389 53:17
       84:10,12 87:3     22:5,6 29:16   24 83:13                  7
     14 17:10 19:2       30:2,11,15     248.864.4000       734.591.4002
       85:7,11           31:1,12 34:19
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18             PageID.5464      Page 41 of
                                     49




                        JAMES v. HAMPTON, ET AL.

                                  DEBORAH GREEN

                                                 II




                                     January 5, 2018



                                      Prepared for you by




                          Bingham Farms/Southfield • Grand Rapids
           Ann Arbor • Detroit • Flint • Jackson • Lansing • Mt. Clemens • Saginaw • Troy
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                          PageID.5465           Page 42 of
                                     49
      DEBORAH GREEN
      January 5, 2018

                                                     Page 92                                             Page 94
        1        IN THE DISTRICT COURT OF THE UNITED STATES     1   ALLYSON TERPSMA
        2          FOR THE EASTERN DISTRICT OF MICHIGAN         2   Warner, Norcross & Judd, L.L.P.
        3               SOUTHERN DIVISION                       3   111 Lyon Street, NW
        4                                                       4   Suite 900
        5   SYLVIA JAMES,                                       5   Grand Rapids, Michigan 49503
        6             Plaintiff,                                6   616.752.2539
        7      vs.               Case No. 2:12-CV-10273         7   aterpsma@wnj.com
        8                        Hon. Paul Borman               8       Appearing on behalf of the Defendant Fischer.
        9   HILLIARD HAMPTON, et al,                            9
       10             Defendants.                              10
       11                             /                        11
       12                                                      12
       13                                                      13
       14      The Deposition of DEBORAH GREEN, Vol. II        14
       15      Taken at 3030 West Grand Boulevard,             15
       16      Detroit, Michigan,                              16
       17      Commencing at 9:56 a.m.                         17
       18      Friday, January 5, 2018,                        18
       19      Before Nora Morrissy, CSR-2642.                 19
       20                                                      20
       21                                                      21
       22                                                      22
       23                                                      23
       24                                                      24
       25                                                      25


                                                     Page 93                                             Page 95
        1     APPEARANCES:                                      1                TABLE OF CONTENTS
        2                                                       2
        3     JASON HIRSCH                                      3    Witness                             Page
        4     Morganroth & Morganroth, P.L.L.C.                 4    DEBORAH GREEN
        5     344 North Old Woodward                            5
        6     Suite 200                                         6    EXAMINATION
        7     Birmingham, Michigan 48009                        7    BY MR. HIRSCH:                            97
        8     248.864.4000                                      8
        9     jhirsch@morganrothlaw.com                         9                     EXHIBITS
       10         Appearing on behalf of the Plaintiff.        10
       11                                                      11    Exhibit                            Page
       12     JEANMARIE MILLER                                 12    (Exhibits not offered.)
       13     Assistant Attorney General                       13
       14     State of Michigan                                14
       15     Department of Attorney General                   15
       16     525 West Ottawa Street                           16
       17     Floor 5                                          17
       18     Lansing, Michigan 48933                          18
       19     517.373.6434                                     19
       20     millerj51@michigan.gov                           20
       21         Appearing on behalf of the Defendant.        21
       22                                                      22
       23                                                      23
       24                                                      24
       25                                                      25




                                 Tl~LEGAL                                                  Pages 92 to 95
                                   ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                            PageID.5466                 Page 43 of
                                     49
      DEBORAH GREEN
      January 5, 2018

                                                              Page 96                                                            Page 98
        1   Detroit, Michigan                                              1      don't know if that was the entire issue in the civil
        2   Friday, January 5, 2018                                        2      case but I know it was part of the issues.
        3   9:56 a.m.                                                      3   Q. It was at least one of the allegations that you
        4                                                                  4      recall?
        5                       DEBORAH GREEN,                             5   A. Yes.
        6         was thereupon called as a witness herein, and after      6   Q. Did you file a grievance against Judge Kandrevas?
        7         having first been duly sworn to testify to the truth,    7   A. A Tenure Commission grievance, no.
        8         the whole truth and nothing but the truth, was           8   Q. Why not?
        9         examined and testified as follows:                       9   A. The issue had come -- by court rule you can file a
       10                  MR. HIRSCH: Good morning, Miss Green. We       10      complaint with the State Court Administrative Office
       11         met before, but my name is Jason Hirsch. I'm one of     11      or the Tenure Commission. If you file a complaint
       12         the attorney for plaintiffs in this matter.             12      with the State Court Administrative Office, I'm going
       13                  Let the record show that this is the           13      to seek an administrative solution. It's an
       14         continuation of the deposition of Deborah Green taken   14      administrative office. We have no disciplinary
       15         pursuant to notice under the Federal Rules of Civil     15      authority.
       16         Procedure.                                              16                So, when the issue with regard to -- he had
       17                  At our last session I went over some ground    17      written a letter to a local grocery store soliciting,
       18         rules.                                                  18      arguably soliciting food for a softball game, and that
       19                  Do you need me to go over those again or do    19      letter came to my attention, actually the court
       20         you have a pretty good recollection?                    20      administrator filed a complaint with me.
       21                  THE WITNESS: That's fine, I understand.        21                I looked at the letter, contacted Judge
       22                  MR. HIRSCH: And I certainly don't expect       22      Kandrevas, talked to him about it, he understood the
       23         this is going to be very long, but if you do need a     23      letter was wrong. He didn't see it as solicitation
       24         break at any time, let me know. In fact I think it's    24      because the grocery store had donated food to this
       25         going to be short.                                      25      baseball game for like 20 years. He was just letting


                                                              Page 97                                                            Page 99
        1                     EXAMINATION                                  1      them know how much.
        2   BY MR. HIRSCH:                                                 2                Anyway, I talked to him, he agreed it was
        3   Q.    There were a few questions that I asked you last time    3      wrong, he agreed to never do it again. That was my
        4        that you declined to answer based on the advice of        4      administrative solution.
        5        counsel and assertion of privilege.                       5                I did not see any need to forward that to
        6                Do you recall that?                               6      the Tenure Commission. To me the problem was
        7   A. Yes.                                                        7      solved.
        8   Q. And we had a session with Magistrate Judge Whalen who       8   Q. So, with respect to what you had seen in that letter,
        9        determined that some of those questions should be         9      you believe that the administrative solution was the
       10        answered.                                                10      right solution with respect to Judge Kandrevas,
       11                Do you understand that?                          11      correct?
       12   A. Yes.                                                       12   A. Correct.
       13   Q. I'm going to ask you some of those questions now,          13   Q. Did you hear any other allegations regarding Judge
       14        okay?                                                    14      Kandrevas that concerned you?
       15   A. Okay.                                                      15   A. No.
       16   Q. You told me in our last session that you are familiar      16   Q. I'm going to move on to the next one now.
       17        with Judge James Kandrevas, correct?                     17   A. Okay.
       18   A. Correct.                                                   18   Q. In our last session you told me that you were familiar
       19   Q. And he was one of the judges in your region when you       19      with Judge Mary Waterstone, correct?
       20        were a regional administrator, correct?                  20   A. If I said familiar, I misspoke. I barely knew the
       21   A. Yes.                                                       21      woman, and she was a member of one of the larger
       22   Q. And you told me that you were familiar with a civil        22      courts. I think she was Third Circuit or 36th
       23        case that had allegations about the way Judge            23      District, I can't remember, and oftentimes I know very
       24        Kandrevas had handled some funds, correct?               24      little about the individual judges. I tend to deal in
       25   A. Yes. To the best of my knowledge that was part -- I        25      the larger courts with the chief judge and the heads




                                        Tl~LEGAL                                                               Pages 96 to 99
                                         ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                                              PageID.5467                      Page 44 of
                                     49
      DEBORAH GREEN
      January 5, 2018

                                                                 Page 100                                                             Page 102
        1      of the divisions.                                             1      wrong, don't do it, take it off. He did that
        2   Q. And to be fair the question I asked you about Judge           2      immediately, never used it again.
        3      Waterstone was, question, she was a judge in the Wayne        3             Secondly is it's my understanding that the
        4      County Circuit Court if that refresh your                     4      primary reason for that civil lawsuit had to do with
        5      recollection, and you answered vaguely.                       5      personnel, HR issues which SCAO does not get involved
        6              That would be fair?                                   6      in. Every court has its own personnel policies, they
        7   A. That would be fair.                                           7      often mirror their funding units policies. We don't
        8   Q. You did tell me you recall that she was a judge in            8      have any rules about it, it's not our issue.
        9      your region?                                                  9             So, I don't get involved in HR decisions at
       10   A. Correct.                                                     10      local courts.
       11   Q. And you did tell me that you recalled that there were        11   Q. But if you heard about something happening at a local
       12      some allegations regarding Judge Waterstone suborning        12      court that was not an administrative issue but you
       13      perjury, correct?                                            13      felt warranted referral to the JTC, could you file a
       14   A. If I recalled that then, I don't recall it now. I            14      grievance?
       15      know there was some issues regarding Judge Waterstone.       15   A. Anybody can file a grievance. Doesn't have to come
       16      I believe I learned about them from the Tenure               16      from me. So, yeah.
       17      Commission.                                                  17   Q. Would you consider that part of your duties as a
       18   Q. So, given what you just told me you learned it from          18      regional administrator?
       19      the Tenure Commission, I take it you did not file a          19   A. Duties, no.
       20      grievance against Judge Waterstone, correct?                 20   Q. At our last session you told me that you are familiar
       21   A. Correct.                                                     21      with Judge Marc Barron of the 48th District Court. Is
       22   Q. Do you have some understanding that a grievance had          22      that correct?
       23      already been filed against Judge Waterstone?                 23   A. Yes.
       24   A. I knew she was already in trouble. I don't know how          24   Q. And you also told me that you were familiar with Judge
       25      the -- the Tenure Commission can take issues up on           25      Kimberly Small also of the 48th District Court,



                                                                 Page 101                                                             Page 103
        1      their own without a grievance being filed. So, I              1      correct?
        2      don't know how it got to their attention. I just knew         2   A. Yes.
        3      she was already in trouble.                                   3   Q. And the 48th District Court was in your region,
        4   Q. Is that the reason then that you did not file a               4      correct?
        5      grievance?                                                    5   A. Yes.
        6   A. That and I had absolutely no firsthand knowledge of           6   Q. And you told me in our last session that you were
        7      anything she had done.                                        7      aware there was a civil case filed by a former clerk
        8   Q. At our last session you told me you were familiar with        8      of the 48th District Court alleging improper
        9      Judge Mark Somers, correct?                                   9      termination and defamation, correct?
       10   A. Correct.                                                     10   A. Correct.
       11   Q. And he was a judge in your region, correct?                  11   Q. You told me in our last session you didn't know about
       12   A. Correct.                                                     12      the civil case until after the fact, correct?
       13   Q. And you told me that you recalled there was a civil          13   A. Correct.
       14      jury award rendered against Judge Somers, correct?           14   Q. When you said that, did you mean after the civil case
       15   A. Yes.                                                         15      had been initiated or did you mean after the judgment
       16   Q. Did you file a grievance against Judge Somers?               16      had been entered?
       17   A. No.                                                          17   A. I learned about it from reading about it in the
       18   Q. Why not?                                                     18      newspaper, so, I believe that was after the judgment.
       19   A. Two parts to that answer. First is, the first problem        19   Q. And did you file a grievance against Judge Barron?
       20      that came to my attention with Judge Somers was              20   A. No.
       21      similar to Judge Kandrevas in that the court                 21   Q. Why not?
       22      administrator brought to my attention Judge Somers had       22   A. It was already public knowledge. The Tenure
       23      a biblical reference at the bottom of his judicial           23      Commission can start cases on their own. I figured
       24      letterhead. That's wrong.                                    24      they could have read the newspaper too. I didn't see
       25             I met with Judge Somers, I said that's                25      the need for me to initiate anything.




                                         Tl~LEGAL                                                             Pages 100 to 103
                                             ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18                 PageID.5468   Page 45 of
                                     49
      DEBORAH GREEN
      January 5, 2018

                                                           Page 104
        1             Again personnel issue, no firsthand
        2      knowledge on my part.
        3   Q. And you said it was also because you felt the JTC
        4      already knew or could know about it, correct?
        5   A. Correct.
        6   Q. So, there's no need for you to bring it to their
        7      attention again, correct?
        8   A. Correct.
        9   Q. And not to put words in your mouth but I would ask you
       10      the same question about Judge Small. Would your
       11      answer be the same?
       12   A. Yes, it would.
       13   Q. And what did you do to prepare for the continuation of
       14      your deposition today?
       15   A. I talked to the Assistant Attorney General for about
       16      five minutes yesterday.
       17              MR. HIRSCH: I have nothing further. Thank
       18      you.
       19              MS. MILLER: I don't have anything.
       20              MS. TERPSMA: Neither do I.
       21              (The deposition was concluded at 10:08 a.m.
       22             Signature of the witness was not requested by
       23              counsel for the respective parties hereto.)
       24
       25


                                                           Page 105
        1             CERTIFICATE OF NOTARY
        2   STATE OF MICHIGAN )
        3              ) SS
        4   COUNTY OF WAYNE)
        5
        6                I, Nora Morrissy, certify that this
        7       deposition was taken before me on the date
        8       hereinbefore set forth; that the foregoing questions
        9       and answers were recorded by me stenographically and
       10       reduced to computer transcription; that this is a
       11       true, full and correct transcript of my stenographic
       12       notes so taken; and that I am not related to, nor of
       13       counsel to, either party nor interested in the event
       14       of this cause.
       15
       16
       17
       18
       19
       20
       21
       22               Nora Morrissy, CSR-2642
       23              Notary Public,
       24              Wayne, County, Michigan.
       25       My Commission expires: 9-13-19




                                     Tl~LEGAL                              Pages 104 to 105
                                        ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18              PageID.5469      Page 46 of
                                     49
     DEBORAH GREEN
     January 5, 2018
                                                                                     Page 106

             A           93:15 96:12        100:4               105:4,24         duties 102:17,19
     a.m 92:17 96:3      104:15           civil 96:15 97:22   court 92:1 98:9
                        authority 98:15     98:1 101:13         98:10,12,19              E
       104:21
     absolutely 101:6   award 101:14        102:4 103:7,12      100:4 101:21     EASTERN 92:2
     administrative     aware 103:7         103:14              102:6,12,21,25   either 105:13
       98:10,12,13,14                     clerk 103:7           103:3,8          entered 103:16
                                B         come 98:9           courts 99:22,25    entire 98:1
       99:4,9 102:12
     administrator      barely 99:20        102:15              102:10           et 92:9
       97:20 98:20      Barron 102:21     Commencing          CSR-2642 92:19     event 105:13
       101:22 102:18      103:19            92:17               105:22           EXAMINATI...
     advice 97:4        baseball 98:25    Commission                               95:6 97:1
                        based 97:4          98:7,11 99:6              D          examined 96:9
     agreed 99:2,3
     al 92:9            behalf 93:10,21     100:17,19,25      date 105:7         Exhibit 95:11
     allegations          94:8              103:23 105:25     deal 99:24         Exhibits 95:9,12
       97:23 98:3       believe 99:9      complaint 98:10     Deborah 92:14      expect 96:22
       99:13 100:12       100:16 103:18     98:11,20            95:4 96:5,14     expires 105:25
     alleging 103:8     best 97:25        computer            decisions 102:9
                        biblical 101:23     105:10            declined 97:4               F
     ALLYSON 94:1                                                                fact 96:24
     answer 97:4        Birmingham        concerned 99:14     defamation
                          93:7            concluded             103:9               103:12
       101:19 104:11                                                             fair 100:2,6,7
     answered 97:10     Borman 92:8         104:21            Defendant
                        bottom 101:23     consider 102:17       93:21 94:8       familiar 97:16
       100:5                                                                        97:22 99:18,20
     answers 105:9      Boulevard         contacted 98:21     Defendants
                          92:15           CONTENTS              92:10               101:8 102:20
     Anybody 102:15                                                                 102:24
     Anyway 99:2        break 96:24         95:1              Department
                        bring 104:6       continuation          93:15            Federal 96:15
     APPEARAN...                                                                 felt 102:13 104:3
       93:1             brought 101:22      96:14 104:13      deposition 92:14
                                          correct 97:17,18      96:14 104:14     figured 103:23
     Appearing                  C                                                file 98:6,9,11
       93:10,21 94:8                        97:20,24 99:11      104:21 105:7
                        called 96:6         99:12,19          determined 97:9       100:19 101:4
     arguably 98:18     case 92:7 97:23                                             101:16 102:13
     asked 97:3                             100:10,13,20      Detroit 92:16
                          98:2 103:7,12     100:21 101:9        96:1                102:15 103:19
       100:2              103:14                                                 filed 98:20
     assertion 97:5                         101:10,11,12      disciplinary
                        cases 103:23        101:14 102:22       98:14               100:23 101:1
     Assistant 93:13    cause 105:14                                                103:7
       104:15                               103:1,4,9,10      District 92:1,2
                        certainly 96:22     103:12,13           99:23 102:21     fine 96:21
     aterpsma@w...      CERTIFICA...                                             first 96:7 101:19
       94:7                                 104:4,5,7,8         102:25 103:3,8
                          105:1             105:11            DIVISION 92:3         101:19
     attention 98:19    certify 105:6                                            firsthand 101:6
       101:2,20,22                        counsel 97:5        divisions 100:1
                        chief 99:25         104:23 105:13     donated 98:24         104:1
       104:7            Circuit 99:22                                            Fischer 94:8
     attorney 93:13                       County 100:4        duly 96:7




                          Tl~LEGAL
                           ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18          PageID.5470       Page 47 of
                                     49
     DEBORAH GREEN
     January 5, 2018
                                                                                 Page 107

     five 104:16        92:9             96:11             97:25 101:6       mirror 102:7
     Floor 93:17       handled 97:24   JEANMARIE           103:22 104:2      misspoke 99:20
     follows 96:9      happening         93:12                               Morganroth
     food 98:18,24      102:11         jhirsch@mor...              L          93:4,4
     foregoing 105:8   heads 99:25       93:9             L.L.P 94:2         morning 96:10
     former 103:7      hear 99:13      JTC 102:13         Lansing 93:18      Morrissy 92:19
     forth 105:8       heard 102:11      104:3            larger 99:21,25     105:6,22
     forward 99:5      hereinbefore    Judd 94:2          lawsuit 102:4      mouth 104:9
     Friday 92:18       105:8          judge 97:8,17,23   learned 100:16     move 99:16
       96:2            hereto 104:23     98:6,21 99:10       100:18 103:17
     full 105:11       HILLIARD          99:13,19,25      letter 98:17,19            N
     funding 102:7      92:9             100:2,3,8,12        98:21,23 99:8   name 96:11
     funds 97:24       Hirsch 93:3 95:7  100:15,20,23     letterhead         need 96:19,23
     further 104:17     96:10,11,22      101:9,11,14,16      101:24           99:5 103:25
                        97:2 104:17      101:20,21,22     letting 98:25       104:6
             G         Hon 92:8          101:25 102:21    little 99:24       Neither 104:20
     game 98:18,25     HR 102:5,9        102:24 103:19    local 98:17        never 99:3 102:2
     General 93:13                       104:10              102:10,11       newspaper
       93:15 104:15            I       judges 97:19       long 96:23          103:18,24
     given 100:18     II 92:14           99:24            looked 98:21       Nora 92:19
     go 96:19         immediately      judgment           Lyon 94:3           105:6,22
     going 96:23,25     102:2            103:15,18                           Norcross 94:2
       97:13 98:12    improper 103:8 judicial 101:23             M           North 93:5
       99:16          individual 99:24 jury 101:14        Magistrate 97:8    Notary 105:1,23
     good 96:10,20    initiate 103:25                     Marc 102:21        notes 105:12
     Grand 92:15      initiated 103:15         K          Mark 101:9         notice 96:15
       94:5           interested       Kandrevas          Mary 99:19         NW 94:3
     Green 92:14        105:13           97:17,24 98:6    matter 96:12
       95:4 96:5,10   involved 102:5,9   98:22 99:10,14   mean 103:14,15             O
       96:14          issue 98:1,9,16    101:21           member 99:21       offered 95:12
     grievance 98:6,7   102:8,12 104:1 Kimberly           met 96:11          office 98:10,12
       100:20,22      issues 98:2        102:25            101:25              98:14
       101:1,5,16       100:15,25      knew 99:20         Michigan 92:2      oftentimes
       102:14,15        102:5            100:24 101:2      92:16 93:7,14       99:23
       103:19                            104:4             93:18 94:5        okay 97:14,15
     grocery 98:17             J       know 96:24 98:1     96:1 105:2,24       99:17
       98:24          James 92:5         98:2 99:1,23     MILLER 93:12       Old 93:5
     ground 96:17       97:17            100:15,24         104:19            Ottawa 93:16
                      January 92:18      101:2 103:11     millerj51@mi...
             H          96:2             104:4             93:20                    P
     HAMPTON          Jason 93:3       knowledge          minutes 104:16     P.L.L.C 93:4




                         Tl~LEGAL
                          ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18            PageID.5471      Page 48 of
                                     49
     DEBORAH GREEN
     January 5, 2018
                                                                                   Page 108

     Page 95:3,11     recalled 100:11      97:8,16 99:18             T         understand
     part 97:25 98:2    100:14 101:13      101:8 102:20     TABLE 95:1          96:21 97:11
       102:17 104:2   recollection         103:6,11         take 100:19,25     understanding
     parties 104:23     96:20 100:5      set 105:8            102:1             100:22 102:3
     parts 101:19     record 96:13       short 96:25        taken 92:15        understood
     party 105:13     recorded 105:9     show 96:13           96:14 105:7,12    98:22
     Paul 92:8        reduced 105:10     Signature          talked 98:22       UNITED 92:1
     perjury 100:13   reference            104:22             99:2 104:15      units 102:7
     personnel 102:5    101:23           similar 101:21     tell 100:8,11
       102:6 104:1    referral 102:13    Small 102:25                                  V
                                                            tend 99:24
     Plaintiff 92:6   refresh 100:4        104:10           Tenure 98:7,11     vaguely 100:5
       93:10          regard 98:16       softball 98:18       99:6 100:16,19   Vol 92:14
     plaintiffs 96:12 regarding 99:13    solicitation         100:25 103:22    vs 92:7
     policies 102:6,7   100:12,15          98:23            termination
     prepare 104:13   region 97:19       soliciting 98:17                             W
                                                              103:9            Warner 94:2
     pretty 96:20       100:9 101:11       98:18            TERPSMA 94:1
     primary 102:4      103:3            solution 98:13                        warranted
                                                              104:20            102:13
     privilege 97:5   regional 97:20       99:4,9,10        testified 96:9
     problem 99:6       102:18           solved 99:7                           Waterstone
                                                            testify 96:7        99:19 100:3,12
       101:19         related 105:12     Somers 101:9,14    Thank 104:17
     Procedure        remember             101:16,20,22                         100:15,20,23
                                                            think 96:24        way 97:23
       96:16            99:23              101:25             99:22
     public 103:22    rendered 101:14    SOUTHERN                              Wayne 100:3
                                                            Third 99:22         105:4,24
       105:23         requested            92:3             time 96:24 97:3
     pursuant 96:15     104:22           SS 105:3                              went 96:17
                                                            today 104:14       West 92:15
     put 104:9        respect 99:8,10    start 103:23       told 97:16,22
                      respective         State 93:14                            93:16
                                                              99:18 100:18     Whalen 97:8
            Q           104:23             98:10,12 105:2     101:8,13         witness 95:3
     question 100:2,3 right 99:10        STATES 92:1          102:20,24
      104:10          rule 98:9          stenographic                           96:6,21 104:22
                                                              103:6,11         woman 99:21
     questions 97:3,9 rules 96:15,18       105:11           transcript
      97:13 105:8       102:8            stenographica...                      Woodward 93:5
                                                              105:11           words 104:9
                                           105:9            transcription
             R                  S        store 98:17,24                        written 98:17
     Rapids 94:5                                              105:10           wrong 98:23
                        SCAO 102:5       Street 93:16       trouble 100:24
     read 103:24        Secondly 102:3     94:3                                 99:3 101:24
     reading 103:17                                           101:3             102:1
                        see 98:23 99:5   suborning          true 105:11
     reason 101:4         103:24           100:12
       102:4                                                truth 96:7,8,8           X
                        seek 98:13       Suite 93:6 94:4    Two 101:19
     recall 97:6 98:4   seen 99:8        sworn 96:7
       100:8,14                                                                      Y
                        session 96:17    SYLVIA 92:5               U




                          Tl~LEGAL
                           ~~PPORT
Case 2:12-cv-10273-PDB-RSW ECF No. 143-2 filed 06/22/18   PageID.5472   Page 49 of
                                     49
     DEBORAH GREEN
     January 5, 2018
                                                                        Page 109

     yeah 102:16       616.752.2539
     years 98:25         94:6
     yesterday
       104:16                 7

            Z                 8

            0                  9
                       9-13-19 105:25
            1          9:56 92:17 96:3
     10:08 104:21      900 94:4
     111 94:3          97 95:7
            2
     2:12-CV-10273
       92:7
     20 98:25
     200 93:6
     2018 92:18 96:2
     248.864.4000
       93:8
            3
     3030 92:15
     344 93:5
     36th 99:22
             4
     48009 93:7
     48933 93:18
     48th 102:21,25
       103:3,8
     49503 94:5
             5
     5 92:18 93:17
       96:2
     517.373.6434
       93:19
     525 93:16
            6




                          Tl~LEGAL
                           ~~PPORT
